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                       UNITED STATES DISTRICT COURT
                           DISTRICT OF COLUMBIA

NATIONAL URBAN LEAGUE
80 Pine Street, 9th Floor,
New York, NY 10005;

NATIONAL FAIR HOUSING ALLIANCE
1331 Pennsylvania Avenue NW, #650,
Washington, DC 20004; and

AIDS FOUNDATION OF CHICAGO
200 West Monroe Street, Suite #1150,
Chicago, IL 60606
                         Plaintiffs,
      v.                                        Case No.

DONALD J. TRUMP, in his official capacity as
President of the United States
1600 Pennsylvania Avenue NW,
Washington, DC 20500;

OFFICE OF MANAGEMENT AND BUDGET
725 17th Street NW,
Washington, DC 20503;

RUSSELL VOUGHT, in his official capacity as
Director of the OFFICE OF MANAGEMENT
AND BUDGET
725 17th Street NW,
Washington, DC 20503;

OFFICE OF FEDERAL CONTRACT
COMPLIANCE PROGRAMS
U.S. Department of Labor
200 Constitution Avenue NW,
Washington, DC 20210;

MICHAEL SCHLOSS, in his official capacity as
Acting Director of Office of FEDERAL
CONTRACT COMPLIANCE PROGRAMS
200 Constitution Avenue NW,
Washington, DC 20210;

U.S. DEPARTMENT OF LABOR
200 Constitution Avenue NW,
Washington, DC 20210;                           Caption continues on next page.
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VINCE MICONE, in his official capacity as
Acting Secretary of U.S. DEPARTMENT OF
LABOR
200 Constitution Avenue NW,
Washington, DC 20210;

U.S. DEPARTMENT OF HEALTH AND
HUMAN SERVICES
200 Independence Avenue SW,
Washington, DC 20201;

ROBERT F. KENNEDY, JR., in his official
capacity as Secretary of U.S. DEPARTMENT
OF HEALTH AND HUMAN SERVICES
200 Independence Avenue SW,
Washington, DC 20201;

U.S. DEPARTMENT OF COMMERCE
1401 Constitution Avenue NW,
Washington, DC 20230;

HOWARD LUTNICK, in his official capacity as
Secretary of U.S. DEPARTMENT OF
COMMERCE
1401 Constitution Avenue NW,
Washington, DC 20230;

U.S. DEPARTMENT OF HOUSING AND
URBAN DEVELOPMENT
451 7th Street SW,
Washington, DC 20410;

SCOTT TURNER, in his official capacity as
Secretary of U.S. DEPARTMENT OF
HOUSING AND URBAN DEVELOPMENT
451 7th Street SW,
Washington, DC 20410;

U.S. DEPARTMENT OF AGRICULTURE
1400 Independence Avenue SW,
Washington, DC 20250;

BROOKE ROLLINS, in her official capacity as
Secretary of U.S. DEPARTMENT OF
AGRICULTURE



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1400 Independence Avenue SW,
Washington, DC 20250;

NATIONAL INSTITUTES OF HEALTH
9000 Rockville Pike,
Bethesda, MD 20892;

MATTHEW J. MEMOLI, in his official capacity
as Acting Director of NATIONAL INSTITUTES
OF HEALTH
9000 Rockville Pike,
Bethesda, MD 20892;

HEALTH RESOURCES AND SERVICES
ADMINISTRATION
5600 Fishers Lane,
Rockville, MD 20857;

THOMAS ENGELS, in his official capacity as
the Administrator of HEALTH RESOURCES
AND SERVICES ADMINISTRATION
560 Fishers Lane,
Rockville, MD 20857;

CENTERS FOR DISEASE CONTROL AND
PREVENTION
1600 Clifton Road,
Atlanta, GA 30329;

SUSAN MONAREZ, in her official capacity as
Acting Director of CENTERS FOR DISEASE
CONTROL AND PREVENTION
1600 Clifton Road,
Atlanta, GA 30329;

ADMINISTRATION FOR COMMUNITY
LIVING
330 C Street SW,
Washington, DC 20201;

RICK NICHOLLS, in his official capacity as
Deputy Administrator and Chief of Staff for
ADMINISTRATION FOR COMMUNITY
LIVING
330 C Street SW,
Washington, DC 20201;



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  U.S. ENVIRONMENTAL PROTECTION
  AGENCY
  1200 Pennsylvania Avenue NW,
  Washington, DC 20460;

  LEE ZELDIN, in his official capacity as
  Administrator of the U.S. ENVIRONMENTAL
  PROTECTION AGENCY
  1200 Pennsylvania Avenue NW,
  Washington, DC 20460;

  U.S. DEPARTMENT OF JUSTICE
  950 Pennsylvania Avenue NW,
  Washington, DC 20530; and

  PAMELA BONDI, in her official capacity as
  Attorney General of U.S. DEPARTMENT OF
  JUSTICE
  950 Pennsylvania Avenue NW,
  Washington, DC 20530

                                 Defendants. 1



COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND JURY TRIAL
                          DEMAND

          1.        Plaintiffs National Urban League (“NUL”), National Fair Housing Alliance

(“NFHA”), and AIDS Foundation of Chicago (“AFC”) (collectively, “Plaintiffs”) bring this civil

rights action for injunctive and declaratory relief against Defendants Donald J. Trump, in his

official capacity as President of the United States; the Office of Management and Budget

(“OMB”); Russel Vought, Director of OMB; the Office of Federal Contract Compliance Programs

(“OFCCP”); Michael Schloss, the Acting Director of OFCCP; the U.S. Department of Labor

(“DOL”); Vince Micone, the Acting U.S. Secretary of Labor; the U.S. Department of Health and



          1
              As relevant, the Defendants named in their official capacities include any successors in
office.


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Human Services (“HHS”); Robert F. Kennedy, Jr., the Secretary of HHS; the U.S. Department of

Commerce (“DOC”); Howard Lutnick, the Secretary of Commerce; the U.S. Department of

Housing and Urban Development (“HUD”); Scott Turner, the HUD Secretary; the U.S.

Department of Agriculture (“USDA”); Brooke Rollins, the Secretary of Agriculture; the National

Institutes of Health (“NIH”); Matthew J. Memoli, the Acting Director of NIH; the Health

Resources and Services Administration (“HRSA”); Thomas Engels, the Administrator of HRSA;

the Centers for Disease Control and Prevention (“CDC”); Susan Monarez, the Acting Director of

CDC; Administration for Community Living (“ACL”); Rick Nicholls, the Deputy Administrator

and Chief of Staff of ACL; the U.S. Environmental Protection Agency (“EPA”); Lee Zeldin, the

Administrator of the EPA; the Department of Justice (“DOJ”); and Pamela Jo Bondi, the U.S.

Attorney General (collectively, “Defendants”) for ultra vires presidential actions, violations of the

First and Fifth Amendments to the U.S. Constitution, and violations of the Administrative

Procedure Act (“APA”).

       2.       Plaintiffs NUL, NFHA, and AFC are three mission-driven non-profit organizations

committed to principles of diversity, equity, inclusion, and accessibility (“DEIA”), to the robust

enforcement of our civil rights laws, and to the full equality all people, regardless of their race,

ethnicity, national origin, sex, sexual orientation, gender identity, or disabilities. Plaintiffs strive

to improve the lives and welfare of vulnerable and underserved communities through their words

and actions and embrace the equal dignity of transgender people. Due to historic and ongoing

systemic inequalities and discrimination, people of color, women, LGBTQ people, and people with

disabilities are disproportionately underserved, vulnerable to civil and human rights abuses, and

in need of Plaintiffs’ services. Each organization has been engaged in various efforts to serve these

vulnerable populations, including by providing essential direct services and technical assistance,




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promoting economic empowerment, combatting housing discrimination, and mobilizing

communities to create equity and justice for people living with and vulnerable to the human

immunodeficiency virus (“HIV”). Plaintiffs receive federal funding in the form of grants and/or

contracts and rely on that federal funding to continue carrying out their mission-driven work.

        3.       Plaintiffs bring this suit to challenge Executive Order No. 14151 “Ending Radical

and Wasteful DEI Programs and Preferencing” (“Anti-Diversity1 Order”), issued January 20,

2025; 2 Executive Order No. 14168 “Defending Women From Gender Ideology Extremism and

Restoring Biological Truth to the Federal Government” (“Anti-Gender Order”), issued January 20,

2025; 3 Executive Order No. 14173 “Ending Illegal Discrimination and Restoring Merit-Based

Opportunity” (“Anti-Diversity2 Order”), issued January 21, 2025 (collectively, the “Executive

Orders”); 4 and related agency actions, as ultra vires and in violation of the First and Fifth

Amendments to the U.S. Constitution and the APA, and, accordingly, seek declaratory and

injunctive relief.

        4.       The Executive Orders falsely assert that DEIA programs and activities are illegal

and inconsistent with merit, hard work, and standards of excellence. They penalize Plaintiffs for

expressing viewpoints in support of DEIA and transgender people. Because of these Orders,

Plaintiffs are at significant risk of losing federal funds that they use to help people of color, women,

LGBTQ people, and/or people with disabilities overcome systemic barriers to access housing,

education, employment, and healthcare stemming from discrimination, biases, and inequalities.




        2
         Exec. Order No. 14151, Ending Radical and Wasteful DEI Programs and Preferencing,
90 Fed. Reg. 8339 (Jan. 20, 2025).
       3
         Exec. Order No. 14168, Defending Women From Gender Ideology Extremism and
Restoring Biological Truth to the Federal Government, 90 Fed. Reg. 8615 (Jan. 20, 2025).
       4
         Exec. Order No. 14173, Ending Illegal Discrimination and Restoring Merit-Based
Opportunity, 90 Fed. Reg. 8633 (Jan. 21, 2025).


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       5.       With vague and ambiguous language, the Executive Orders seek to intimidate,

threaten, and ultimately stop Plaintiffs from performing services central to their missions; chill and

censor their speech, advocacy, and expressive activity based on content and viewpoint; and

jeopardize federal grants and contracts that are critical for Plaintiffs to accomplish their mission-

driven work. Defendants have already taken action to implement these Executive Orders and have

begun to terminate Plaintiffs’ federal funding.

       6.       The Executive Orders disparage DEIA programs as “dangerous, demeaning, and

immoral race- and sex-based preferences.” 5 In actuality, these programs address longstanding,

discriminatory barriers and disadvantages to help members of underrepresented groups fully

participate in our society and have equal access to employment, education, housing, healthcare,

and other resources. These types of programs embody principles and values of equality, fairness,

and justice that are enshrined in our Constitution and federal civil rights laws and reflect a shared

commitment to achieving the ideals of a multiracial democracy that fully includes all its people.

Plaintiffs firmly believe that the United States’ longstanding and entrenched race and sex

inequalities require proactive efforts, including DEIA, to break down barriers to opportunity and

resources to both remedy and prevent discrimination.

       7.       While the President may have his viewpoint, as flawed and discriminatory as it may

be, the First Amendment bars him from unduly imposing his viewpoint on federal contractors and

grantees so that Plaintiffs are forced to either violate their organizational missions or risk losing

the federal funding that is vitally necessary, and even sometimes lifesaving, for the communities

they serve.




       5
           Anti-Diversity2 Order § 1.


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        8.        The terms of the Executive Orders are extraordinarily vague and could prohibit

Plaintiffs from engaging in any targeted effort to help a specific group of people facing unfair

disadvantages. The Executive Orders equate banned “DEIA” with any equity-related work—

potentially including work that is specifically authorized or required by civil rights laws—and

explicitly prohibit references to “DEI and DEIA principles, under whatever name they may

appear.” 6 Without any discernible standards or criteria of what is and what is not “dangerous,

demeaning,” “immoral,” and “illegal” DEIA, 7 as understood by this Administration, the future of

Plaintiffs’ fiscal viability and programming are subject to the unfettered discretion of an

Administration that has made clear its predisposition against any speech or action that advances

equal opportunity for historically marginalized groups, including people of color, women, LGBTQ

people, and/or people with disabilities. Such vague terms without sufficient standards or criteria

deprive Plaintiffs of their due process rights under the Fifth Amendment.

        9.        In addition to violating Plaintiffs’ free speech and due process rights, the Executive

Orders have a clear discriminatory purpose in violation of equal protection: to malign the targeted

communities; to undermine and dismantle a wide spectrum of policies, programs, and activities

intended to help historically marginalized, underserved, and under-resourced groups; and to erase

transgender people from public life.

        10.       As evidenced during his first term in office by his response to the mass

demonstrations against systemic anti-Black racism after the police killing of George Floyd,

President Trump has sought to quell any ensuing efforts to advance racial justice, including

through DEIA initiatives. That singular focus has continued to his current Administration: the




        6
            Id. § 3.
        7
            Id. § 1.


                                                    8
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recent Executive Orders also suggest that DEIA programs are inconsistent with merit, and do so

through their text, the aggressive messaging around them, and the way the Administration has

implemented them. This emphasis on “merit” relies on longstanding stereotypes that Black people

and other underrepresented groups are inherently unqualified and lack merit despite their

accomplishments. Rather than acknowledging the need for DEIA programs to remove unfair

barriers to opportunity for Black people and other excluded groups, the Executive Orders rely on

these false stereotypes to support the baseless assertion that those programs provide racial

preferences to unqualified Black people and other people of color.         The Executive Orders

simultaneously codify preferences for white people by suggesting that efforts to address racial

inequity—for example, by “promoting diversity”—are, by definition, reverse discrimination.

       11.     By attacking “DEIA,” the Executive Orders expressly disadvantage people of color,

women, LGBTQ people, and people with disabilities who face unfair disadvantages or inequalities

by eliminating and delegitimizing targeted efforts that were specifically created to help them

overcome the systemic discrimination that produced those disadvantages and inequalities. In

actuality, DEIA is utilized by both public and private entities to ensure voluntary compliance with

civil rights and anti-discrimination laws and mitigate risk. Yet, without evidence or support, the

Trump Administration is using the power and resources of the federal government to launch a full-

scale assault on DEIA—not only within federal agencies, but throughout the private sector in

contravention of the Constitution and other federal laws. People of color, women, LGBTQ people,

and people with disabilities served by Plaintiffs’ equity programs will be directly harmed by the

Trump Administration’s discriminatory actions, as Plaintiffs face censorship of speech and

termination of funding and activities that support and benefit vulnerable communities.




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        12.      Even more explicitly, the Anti-Gender Order discriminates against transgender

people by repudiating their existence, deeming their identities “false,” 8 disparaging them, and

ordering their exclusion from government recognition and protection in multiple aspects of their

lives. The Anti-Gender Order seeks to erase transgender people from public life and poses an

existential threat to transgender people themselves, as well as to the federally funded organizations

that seek to support them and advance their civil rights.

        13.      Accordingly, Plaintiffs respectfully ask the Court to uphold their constitutional

rights so they may continue their important, urgent, and mission-driven work of supporting and

providing services to the marginalized and underserved communities who are directly and

intentionally targeted, maligned, and disadvantaged by the Executive Orders.


                                  JURISDICTION AND VENUE

        14.      Plaintiffs bring this action under the U.S. Constitution and the APA, 5 U.S.C. §§

551 et seq.

        15.      This Court has jurisdiction pursuant to 28 U.S.C. § 1331 as this action arises under

the laws of the United States, including the U.S. Constitution.

        16.      Venue is proper in this District under 28 U.S.C. § 1391(e) because Plaintiffs reside

within this District and because each Defendant is an agency of the United States or an officer or

employee of the United States or any agency thereof acting and sued in their official capacity, at

least one Defendant resides in this District, and a substantial part of the events or omissions giving

rise to the claim occurred in this District.

        17.      The Court is authorized to award the requested declaratory and injunctive relief

under 28 U.S.C. §§ 2201–02 and Federal Rule of Civil Procedure 65.


        8
            Anti-Gender Order § 2(f).


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                                             PARTIES

I.     PLAINTIFFS

       18.     The National Urban League NUL is a 501(c)(3) non-profit corporation

headquartered in New York, New York. It is the largest historic civil rights and urban advocacy

organization committed to elevating the standard of living for Black Americans and other

historically underserved people and urban communities through economic empowerment.

Founded in 1910, NUL is also one of the oldest civil rights organizations in existence. NUL

promotes economic empowerment through education and job training, housing and community

development, workforce development, entrepreneurship, health, and quality of life, and publicly

supports the rights of LGBTQ people. 9

       19.     NUL has 92 local affiliates (known as the affiliate movement) in 300 communities

across 36 states and the District of Columbia that offer various direct services and advocacy that

enhance the lives of more than 3.8 million people nationwide. Committed to principles of DEIA,

NUL promotes economic empowerment through programming and advocacy around education

and youth development, job training and workforce development, housing counseling,

entrepreneurship, health, and overall quality of life. NUL has been, is, and seeks to be in the future

a federal contractor, federal subcontractor, and/or federal grant recipient.         The challenged

Executive Orders threaten NUL’s ability to conduct its core business activities and accomplish its

mission of providing direct services and technical assistance to underserved communities with the

goal of advancing economic empowerment by censoring NUL’s speech or withholding critical




       9
          See National Urban League, VCU Libraries Social Welfare History Project,
https://socialwelfare.library.vcu.edu/organizations/national-urban-league/ (last visited Feb. 16,
2025).


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federal funds, and by discriminating against individuals whom NUL has served for over one

hundred years.

       20.       NFHA is a 501(c)(3) non-profit Virginia corporation headquartered in Washington,

DC. NFHA is the country’s only national civil rights organization dedicated solely to eliminating

all forms of housing and lending discrimination and ensuring equitable housing opportunities for

all people. Through its community development, education and outreach, responsible AI, member

services, public policy and advocacy, consulting and compliance, and enforcement initiatives,

NFHA works to dismantle longstanding discriminatory barriers and build inclusive, resilient, well-

resourced communities where everyone can thrive. Pursuant to its mission to eliminate all housing

and lending discrimination, NFHA advocates against discrimination based on race, national origin,

religion, sex, disability, sexual orientation, gender identity, and other protected classes covered by

federal, state, and local fair housing laws, including the federal Fair Housing Act.

       21.       NFHA’s members include over 200 private, non-profit fair housing organizations,

state and local civil rights agencies, and individuals across the United States. NFHA has over 70

operating member organizations nationwide that support fair housing work in their regions in 29

states and the District of Columbia. NFHA focuses on a variety of matters, including policy

initiatives, research, education, and outreach, and operating members of NFHA provide direct

services to victims of housing discrimination. NFHA has been, is, and seeks to be in the future a

federal contractor, federal subcontractor, and/or federal grant recipient. The Executive Orders

frustrate NFHA’s mission to eliminate all forms of housing and lending discrimination by

censoring NFHA’s speech or withholding critical federal funds, and by making it more difficult

for NFHA to serve individuals against whom the Executive Orders discriminate.




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       22.     AFC is a not-for-profit 501(c)(3) organization based in Chicago, Illinois that

mobilizes communities to create equity and justice for people living with and vulnerable to the

human immunodeficiency virus (“HIV”) or chronic conditions. Its strategic priorities include

ending the HIV epidemic, ending homelessness, prioritizing racial equity, and mobilizing and

developing communities of supporters and allies.

       23.     AFC has been, is, and seeks to be in the future a federal grant recipient. The

Executive Orders frustrate AFC’s mission to create equity and justice for people living with and

vulnerable to HIV or chronic conditions by censoring AFC’s speech or withholding critical federal

funds, and by discriminating against individuals whom it serves, as part of its mission.

II.    DEFENDANTS

       24.     Donald J. Trump is the President of the United States. He is sued in his official

capacity. In that capacity, he issued the Executive Orders that are challenged in this lawsuit.

       25.     OMB is the largest office within the Executive Office of the President of the United

States. OMB produces the President’s budget and ensures that agency programs, policies, and

procedures comply with the President’s policies, including policies in the Executive Orders.

       26.     Russell Vought is the Director of OMB and that agency’s highest ranking official.

He is charged with the supervision and management of all decisions and actions of that agency.

He is sued in his official capacity.

       27.     OFCCP is part of the U.S. Department of Labor and is responsible for ensuring that

employers that do business with the federal government comply with laws and regulations

requiring nondiscrimination.

       28.     Michael Schloss is the Acting Director of OFCCP and that agency’s highest ranking

official. He is charged with the supervision and management of all decisions and actions of that

agency. He is sued in his official capacity.


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       29.     DOL is a federal agency charged with promoting the wellbeing of wage earners,

job seekers, and retirees in the United States. DOL contracts and/or subcontracts with—and/or

provides grants to—private entities, including without limitation Plaintiff NUL.

       30.     Vince Micone is the Acting U.S. Secretary of Labor and that agency’s highest

ranking official. He is charged with the supervision and management of all decisions and actions

of that agency. He is sued in his official capacity.

       31.     HHS is a federal agency focused on the enhancing the health and wellbeing of all

Americans. HHS contracts and/or subcontracts with—and/or provides grants to—private entities,

including without limitation Plaintiff AFC.

       32.     Robert F. Kennedy, Jr. is the Secretary of HHS and that agency’s highest ranking

official. He is charged with the supervision and management of all decisions and actions of that

agency. He is sued in his official capacity.

       33.     DOC is a federal agency which works to create the conditions for economic growth

and opportunity for all communities. DOC contracts and/or subcontracts with—and/or provides

grants to—private entities, including without limitation Plaintiff NUL.

       34.     Howard Lutnick is the Secretary of Commerce and that agency’s highest ranking

official. He is charged with the supervision and management of all decisions and actions of that

agency. He is sued in his official capacity.

       35.     HUD is a federal agency charged with creating strong, sustainable, inclusive

communities and quality affordable homes for all. HUD contracts and/or subcontracts with—

and/or provides grants to—private entities, including without limitation Plaintiffs NUL, NFHA,

and AFC.




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        36.      Scott Turner is the HUD Secretary and that agency’s highest ranking official. He

is charged with the supervision and management of all decisions and actions of that agency. He

is sued in his official capacity.

        37.      USDA is a federal agency charged with developing and executing federal laws and

policy related to food, agriculture, natural resources, rural development, nutrition, and related

issues. USDA contracts and/or subcontracts with—and/or provides grants to—private entities,

including without limitation Plaintiff NUL.

        38.      Brooke Rollins is the Secretary of Agriculture and that agency’s highest ranking

official. She is charged with the supervision and management of all decisions and actions of that

agency. She is sued in her official capacity.

        39.      NIH is a federal agency responsible for biomedical and public health research. NIH

enters into contracts and/or subcontracts with—and/or provides grants to—private entities,

including without limitation Plaintiff AFC.

        40.      Matthew J. Memoli is the Acting Director of NIH and that agency’s highest

ranking official. He is charged with the supervision and management of all decisions and actions

of that agency. He is sued in his official capacity.

        41.      HRSA is a federal agency focused on free and low-cost healthcare services and

services to people who are geographically isolated and economically or medically vulnerable

relating to, inter alia, maternal and child health and HIV and AIDS. HRSA contracts and/or

subcontracts with—and/or provides grants to—private entities, including without limitation

Plaintiff AFC.




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       42.     Thomas Engels is the Administrator of HRSA and that agency’s highest ranking

official. He is charged with the supervision and management of all decisions and actions of that

agency. He is sued in his official capacity.

       43.     CDC is a federal agency charged with protecting the public from health and safety

threats through the control and prevention of disease, injury, and disability in the United States

and abroad. CDC enters into contracts and/or subcontracts with—and/or provides grants to—

private entities, including without limitation Plaintiffs NUL and AFC.

       44.     Susan Monarez is the Acting Director of CDC and that agency’s highest ranking

official. She is charged with the supervision and management of all decisions and actions of that

agency. She is sued in her official capacity.

       45.     ACL is a federal agency that helps older adults and people with disabilities live

independently and participate in their communities and is charged with improving access to health

care and long-term services. ACL contracts and/or subcontracts with—and/or provides grants to—

private entities, including without limitation Plaintiff AFC.

       46.     Rick Nicholls is the Deputy Administrator and Chief of Staff of ACL and that

agency’s highest ranking official. He is charged with the supervision and management of all

decisions and actions of that agency. He is sued in his official capacity.

       47.     EPA is a federal agency charged with protecting human health and the environment.

EPA contracts and/or subcontracts with—and/or provides grants to—private entities, including

without limitation Plaintiff NUL. Plaintiff NUL was selected for a grant from the EPA, and is in

the process of finalizing the award with a fully executed agreement.




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       48.      Lee Zeldin is the Administrator of EPA and that agency’s highest ranking official.

He is charged with the supervision and management of all decisions and actions of that agency.

He is sued in his official capacity.

       49.      DOJ is a federal agency charged with upholding the rule of law, keeping our

country safe, and protecting civil rights.

       50.      Pamela Jo Bondi is the U.S. Attorney General and DOJ’s highest ranking official.

She is charged with the supervision and management of all decisions and actions of that agency.

She is sued in her official capacity.

                                   FACTUAL ALLEGATIONS

I.     PRESIDENT TRUMP ISSUED THREE EXECUTIVE ORDERS PROMOTING
       DISCRIMINATORY VIEWPOINTS THAT DISFAVOR FEDERAL
       CONTRACTORS AND GRANTEES WITH CONTRARY VIEWPOINTS.

       A.       Anti-Diversity1 Order Terminates “Equity-Related” Contracts or
                Grants.

       51.      On Inauguration Day, January 20, 2025, President Trump issued the Anti-

Diversity1 Order, titled “Ending Radical and Wasteful Government DEI Programs and

Preferencing.” The Anti-Diversity1 Order expresses a viewpoint that “diversity, equity, inclusion,

and accessibility,” “DEIA,” or related programs are “illegal and immoral discrimination

programs.” 10

       52.      To impose the Administration’s viewpoint, Section 2(b) of the Anti-Diversity1

Order directs “[e]ach agency, department, or commission head” to “terminate, to the maximum

extent allowed by law, all DEI, DEIA, and ‘environmental justice’ offices and positions (including

but not limited to ‘Chief Diversity Officer’ positions); all ‘equity action plans,’ ‘equity’ actions,




       10
            Anti-Diversity1 Order §§ 1–2.


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initiatives, or programs, ‘equity-related’ grants or contracts; and all DEI or DEIA performance

requirements for employees, contractors, or grantees.”

       53.       The Anti-Diversity1 Order does not define “DEI,” “DEIA,” “diversity,” “equity,”

“inclusion,” or “accessibility.”

       54.       Because the Ant-Diversity1 Order does not define these terms, federal contractors

and grantees, including Plaintiffs, who have “equity-related” grants or contracts, risk having

contracts or grants that Defendants may consider to be “equity-related” terminated. The sweep of

Defendants’ prohibition and punitive action appears to be unduly broad, as they equate “diversity,

equity, inclusion, and accessibility” or “DEIA” with “equity” or “equity-related” grants or

contracts to be terminated pursuant to the Order.

       B.        Anti-Diversity2 Order Restricts “Diversity, Equity, Inclusion, and
                 Accessibility” by Federal Contractors and Grantees.

       55.       On January 21, 2025, President Trump issued the Anti-Diversity2 Order, titled

“Ending Illegal Discrimination and Restoring Merit-Based Opportunity.” The Anti-Diversity2

Order states that “diversity, equity, and inclusion,” “DEI,” “diversity, equity, inclusion, and

accessibility,” or “DEIA” policies are “illegal,” “dangerous,” and “immoral” and can violate

federal civil rights laws. 11 As expressed in its title, the Anti-Diversity2 Order also characterizes

DEIA efforts as contrary to merit-based opportunity.

       56.       The Anti-Diversity2 Order, as expressed in Section 1, states that “diversity, equity,

and inclusion,” “DEI,” “diversity, equity, inclusion, and accessibility,” and “DEIA” are

“dangerous, demeaning, and immoral race- and sex-based preferences”; “illegal” in violation of

“the text and spirit of . . . Federal civil-rights laws”; “undermine our national unity”; “deny,

discredit, and undermine the traditional American values of hard work, excellence, and individual


       11
            Anti-Diversity2 Order § 1.


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achievement in favor of an unlawful, corrosive, and pernicious identity-based spoils system”;

“threaten the safety of American men, women, and children across the Nation by diminishing the

importance of individual merit, aptitude, hard work, and determination when selecting people for

jobs and services in key sectors of American society”; are “illegal, pernicious discrimination that

has prioritized how people were born instead of what they were capable of doing”; and are “illegal

preferences and discrimination.”

        57.     Section 2 of the Anti-Diversity2 Order directs “all executive departments and

agencies . . . to terminate all discriminatory and illegal preferences, mandates, policies, programs,

activities, guidance, regulations, enforcement actions, consent orders, and requirements” to

“protect the civil rights of all Americans and to promote individual initiative, excellence, and hard

work” and “to enforce our longstanding civil-rights laws and to combat illegal private-sector DEI

preferences, mandates, policies, programs, and activities.”

        58.     Section 3(b) of the Anti-Diversity2 Order instructs the OFCCP to “immediately

cease . . . [p]romoting ‘diversity’”; “[h]olding Federal contractors and subcontractors responsible

for taking ‘affirmative action’”; and “[a]llowing or encouraging Federal contractors and

subcontractors to engage in workforce balancing based on race, color, sex, sexual preference,

religion, or national origin.”

        59.     Section 3(b) further requires each agency head to “include in every contract or grant

award: (A) a term requiring the contractual counterparty or grant recipient to agree that its

compliance in all respects with all applicable Federal anti-discrimination laws is material to the

government’s payment decisions for purposes of section 3729(b)(4) of title 31, United States

Code,” and, concerningly, “(B) a term requiring such counterparty or recipient to certify that it




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does not operate any programs promoting DEI that violate any applicable Federal anti-

discrimination laws.”

        60.     Section 3(c) of the Anti-Diversity2 Order requires the Director of the OMB to

“(i) Review and revise, as appropriate, all Government-wide processes, directives, and guidance;

(ii) Excise references to DEI and DEIA principles, under whatever name they may appear, from

Federal acquisition, contracting, grants, and financial assistance procedures to streamline those

procedures, improve speed and efficiency, lower costs, and comply with civil-rights laws; and

(iii) Terminate all ‘diversity,’ ‘equity,’ ‘equitable decision-making,’ ‘equitable deployment of

financial and technical assistance,’ ‘advancing equity,’ and like mandates, requirements, programs,

or activities, as appropriate.”

        61.     Section 4(a) of the Anti-Diversity2 Order directs the heads of all agencies to “take

all appropriate action with respect to the operations of their agencies to advance in the private

sector the policy of individual initiative, excellence, and hard work,” which the Executive Order

asserts is inconsistent with DEIA.

        62.     Section 4(b) of the Anti-Diversity2 Order directs the Attorney General to submit a

report “containing recommendations for enforcing Federal civil-rights laws and taking other

appropriate measures to encourage the private sector to end illegal discrimination and preferences,

including DEI.” In addition, the Anti-Diversity2 Order states that the Attorney General’s report

must “contain a proposed strategic enforcement plan identifying: (i) Key sectors of concern within

each agency’s jurisdiction; (ii) The most egregious and discriminatory DEI practitioners in each

sector of concern; (iii) A plan of specific steps or measures to deter DEI programs or principles

(whether specifically denominated ‘DEI’ or otherwise) that constitute illegal discrimination or

preferences,” and says that “[a]s a part of this plan, each agency shall identify up to nine potential




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civil compliance investigations of publicly traded corporations, large non-profit corporations or

associations, foundations with assets of 500 million dollars or more, State and local bar and

medical associations, and institutions of higher education with endowments over 1 billion dollars”;

“(iv) Other strategies to encourage the private sector to end illegal DEI discrimination and

preferences and comply with all Federal civil-rights laws; (v) Litigation that would be potentially

appropriate for Federal lawsuits, intervention, or statements of interest; and (vi) Potential

regulatory action and sub-regulatory guidance.”

       63.     Taken together, the Anti-Diversity1 and Anti-Diversity2 Orders express the

viewpoint that policies, programs, and activities that Defendants determine to be related to DEIA

do not comply with federal civil rights laws, do not advance federal civil rights laws, and must

cease. Defendants thus disfavor federal grant recipients and contractors, including Plaintiffs,

whose speech, trainings, research, and/or mission-driven services express or reflect viewpoints

that support DEIA efforts, and who seek to assist people of color, women, LGBTQ people, and

people with disabilities, including people living with HIV, in overcoming systemic barriers to

equality resulting from past and current discrimination.

       C.      The Anti-Gender Order Forbids Contractors and Grantees from
               Acknowledging the Existence of Transgender People and Their Legal
               Right to Equality and Respect.

       64.     On January 20, 2025, President Trump issued the Anti-Gender Order, titled

“Defending Women From Gender Ideology Extremism and Restoring Biological Truth to the

Federal Government.” The Anti-Gender Order expresses a disparaging, demeaning, idiosyncratic,

and unscientific viewpoint about transgender people and gender identity, denying that transgender

people exist, deeming them “false,” ordering their exclusion from government recognition and

protection in numerous aspects of their lives, and demanding that others do the same.




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       65.     Section 2 of the Anti-Gender Order states that a person’s “sex” is an “immutable

biological classification as either male or female.”

       66.     The definitions contained within the Anti-Gender Order deny the existence of

gender identities that differ from a person’s sex assigned at birth and repudiate the existence of

people who are transgender altogether.        Specifically, Section 2 of the Anti-Gender Order

establishes that it is the “policy of the United States to recognize two sexes, male and female,”

which “are not changeable and are grounded in fundamental and incontrovertible reality.” Section

2 further states that “the Executive Branch will enforce all sex-protective laws to promote this

reality, and the following definitions shall govern all Executive interpretation of and application

of Federal law and administration policy.”

       67.     Section 2 of the Anti-Gender Order defines “Female” to mean “a person belonging,

at conception, to the sex that produces the large reproductive cell,” and “Male” to mean “a person

belonging, at conception, to the sex that produces the small reproductive cell.”

       68.     Section 2 of the Anti-Gender Order defines what it terms “gender ideology” as

“replac[ing] the biological category of sex with an ever-shifting concept of self-assessed gender

identity, permitting the false claim that males can identify as and thus become women and vice

versa, and requiring all institutions of society to regard this false claim as true.” It further states

that “[g]ender ideology includes the idea that there is a vast spectrum of genders that are

disconnected from one’s sex. Gender ideology is internally inconsistent, in that it diminishes sex

as an identifiable or useful category but nevertheless maintains that it is possible for a person to be

born in the wrong sexed body.”

       69.     In addition, Section 2 of the Anti-Gender Order defines what it terms “gender

identity” as “reflect[ing] a fully internal and subjective sense of self, disconnected from biological




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reality and sex and existing on an infinite continuum, that does not provide a meaningful basis for

identification and cannot be recognized as a replacement for sex.”

       70.     Section 3(b) of the Anti-Gender Order directs each agency to “give the terms ‘sex’,

‘male’, ‘female’, ‘men’, ‘women’, ‘boys’ and ‘girls’” the meanings defined in the Executive Order

“when interpreting or applying statutes, regulations, or guidance and in all other official agency

business, documents, and communications.”

       71.     Section 3(d) of the Anti-Gender Order directs the Secretaries of State and

Homeland Security to implement changes to require that government-issued identification

documents, including passports, visas, and Global Entry cards, reflect solely the holder’s sex

assigned at birth, pursuant to the definitions in Section 2 of the Order—thus preventing transgender

people from carrying federal identity documentation that accords with their gender identities.

       72.     Section 3(e) of the Anti-Gender Order further directs agencies to “remove all

statements, policies, regulations, forms, communications, or other internal and external messages

that promote or otherwise inculcate gender ideology, and shall cease issuing such statements,

policies, regulations, forms, communications or other messages.” It also demands that agencies

“take all necessary steps, as permitted by law, to end the Federal funding of gender ideology.”

       73.     Section 3(f) of the Anti-Gender Order disagrees with the legal position that “the

Supreme Court’s decision in Bostock v. Clayton County (2020), which addressed Title VII of the

Civil Rights Act of 1964, requires gender identity-based access to single-sex spaces under, for

example, Title IX of the Educational Amendments Act.” This section further directs the Attorney

General to “immediately issue guidance to agencies to correct the misapplication of the Supreme

Court’s decision in Bostock v. Clayton County (2020) to sex-based distinctions in agency




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activities” and “issue guidance and assist agencies in protecting sex-based distinctions, which are

explicitly permitted under Constitutional and statutory precedent.”

          74.   Section 3(g) of the Anti-Gender Order prohibits the use of federal funds “to

promote gender ideology” and directs each agency to “assess grant conditions and grantee

preferences and ensure grant funds do not promote gender ideology.”

          75.   Section 7 of the Anti-Gender Order requires each agency to submit an update on

implementation of the Executive Order within 120 days, including “agency-imposed requirements

on federally funded entities, including contractors, to achieve the policy of” the Executive Order.

          76.   Defendants, therefore, disfavor federal contractors and grantees, including

Plaintiffs, whose speech, trainings, research, and/or mission-driven services express or reflect

viewpoints that acknowledge the existence of transgender people and/or advocate for their

equality.

          77.   Moreover, when taken together with the Anti-Diversity1 and Anti-Diversity2

Orders, Plaintiffs risk the loss of federal funding for the contracts and/or grants to the extent any

of Plaintiffs’ programs, policies, or activities recognize and/or advance the rights of transgender

people.

II.       ENFORCEMENT OF THE EXECUTIVE ORDERS

          78.   In the days following the release of the Executive Orders, the Trump

Administration took multiple actions that penalized and attacked speech and viewpoints that, in

the Administration’s view, are related to DEIA. These actions further confirm that the purpose of

the Executive Orders is to establish the Administration’s viewpoint on DEIA; to intimidate and

instill fear in federal contractors who promote what the Administration considers to be DEIA in

their operations; to coerce public and private compliance with the Administration’s viewpoints

with threats of civil and criminal liability; to suppress and chill speech and viewpoints with which


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the Trump Administration disagrees and to inflict harms against people of color, women, LGBTQ

people, and people with disabilities by denying them the support of the federal government even

though they confront ongoing inequalities and barriers to equal opportunity.

       79.     On January 21, 2025, the acting director of OPM released a memorandum titled

“Initial Guidance Regarding DEIA Executive Orders” (the “January 21 OPM Memo”) that

purported to implement the Anti-Diversity1 Order. 12 The January 21 OPM Memo directed

agencies to take “prompt actions” against “DEIA initiatives and programs,” including requiring

agencies—within 24 hours—to “terminate any DEIA-related contractors,” among other actions. 13

The January 21 OPM Memo further demanded a report within 48 hours of “all DEIA-related

agency contracts.” 14

       80.     The January 21 OPM Memo also sought to root out what OPM characterized as

efforts to evade the Trump Administration’s policy. The memorandum included an email template

for agency heads to send to their employees, notifying them that the Trump Administration is

“aware of efforts by some in government to disguise these [DEIA] programs by using coded or

imprecise language.” 15 The email directed employees who know about such efforts to report them

to an email address “DEIAtruth@opm.gov” and threatens unspecified “adverse consequences” for

not doing so. 16 The January 21 OPM Memo also demanded a “list” of “contract descriptions or




       12
           OPM, Initial Guidance Regarding DEIA Executive Orders (Jan. 21, 2025),
https://www.opm.gov/media/e1zj1p0m/opm-memo-re-initial-guidance-regarding-deia-executive-
orders-1-21-2025-final.pdf.
        13
           Id. at 1–2.
        14
           Id. at 1.
        15
           Id. at 3.
        16
           Id.


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personnel position descriptions” that had been recently “changed” to “obscure their connection to

DEIA programs.” 17

       81.     On January 22, 2025, the White House released “Fact Sheet: President Donald J.

Trump Protects Civil Rights and Merit-Based Opportunity by Ending Illegal DEI.” 18 This “Fact

Sheet” explains that the Anti-Diversity2 Order terminates “radical DEI preferencing in federal

contracting” and directs “federal agencies to relentlessly combat private sector discrimination.” It

claims that “DEI has dangerously tainted many of our critical businesses and influential

institutions,” that “DEI’s foundational rhetoric and ideas foster intergroup hostility and

authoritarianism,” and that “[b]illions of dollars are spent annually on DEI, but rather than

reducing bias and promoting inclusion, DEI creates and then amplifies prejudicial hostility and

exacerbates interpersonal conflict.”

       82.     On January 23, 2025, at the World Economic Forum, President Trump announced

that his Administration “has taken action to abolish all discriminatory diversity, equity, and

inclusion nonsense—and these are policies that were absolute nonsense—throughout the

government and the private sector.” 19

       83.     On January 27, 2025, the Acting Director of OMB issued a memorandum titled

“Temporary Pause of Agency Grant, Loan, and Other Financial assistance Programs” (“OMB




       17
            Id. at 2.
       18
            The White House, Fact Sheet: President Donald J. Trump Protects Civil Rights and
Merit-Based Opportunity by Ending Illegal DEI (Jan. 22, 2025),
https://www.whitehouse.gov/fact-sheets/2025/01/fact-sheet-president-donald-j-trump-protects-
civil-rights-and-merit-based-opportunity-by-ending-illegal-dei/.
         19
            Remarks by President Trump at the World Economic Forum (Jan. 23, 2025),
https://www.whitehouse.gov/remarks/2025/01/remarks-by-president-trump-at-the-world-
economic-forum/.


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Memo M-25-13”). 20 OMB Memo M-25-13 purported to implement a series of executive orders

signed by President Trump, including the Anti-Diversity1 Order and the Anti-Gender Order, and

directed agencies to freeze “all activities related to obligation or disbursement of all Federal

financial assistance, and other relevant activities that may be implicated by the executive orders,

including but not limited to . . . DEI, [and] woke gender ideology.” 21 OMB Memo M-25-13

contained a footnote explaining that “Medicare or Social Security benefits” were the only federal

assistance programs that it did not cover. 22

       84.     The Trump Administration posted a “Q&A” that purported to clarify the scope of

OMB Memo M-25-13. 23 The Q&A explained “any program that provides direct benefits to

Americans is explicitly excluded from the pause” directed in OMB Memo M-25-13, but the Q&A

reiterated that the funding pause did apply to “programs, projects, and activities implicated by the

President’s Executive Orders, such as ending DEI.”

       85.     The extensive scope of OMB Memo M-25-13 spurred widespread chaos and

confusion. The next day, multiple groups sued to enjoin its enforcement for violating the APA.

In National Council of Nonprofits v. OMB, No. 1:25-CV-00239 (D.D.C.) and New York v. Trump,

No. 1:25-cv-00039 (D.R.I.), district courts took immediate action to stay enforcement of OMB

Memo M-25-13. On January 28, 2025, in National Council of Nonprofits, the U.S. District Court

for the District of Columbia issued a temporary stay pending its consideration of plaintiffs’ motion




       20
           OMB, Memorandum For Heads of Executive Departments and Agencies, M-25-13,
Temporary Pause of Agency Grant, Loan, and Other Financial Assistance Programs (Jan. 27,
2025), https://dcg.usc.edu/wp-content/uploads/2025/01/OMB-Memo-Pause.pdf.
        21
           Id. at 2.
        22
           Id. at 1 n.2.
        23
           OMB, Fact Sheet: OMB Q&A Regarding Memorandum M-25-13 (Jan. 28, 2025),
https://web.archive.org/web/20250129143354/https:/www.whitehouse.gov/fact-
sheets/2025/01/omb-q-a-regarding-memorandum-m-25-13/.


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for a temporary restraining order, during which it ordered the government defendants to “refrain

from implementing OMB Memorandum M-25-13 with respect to the disbursement of Federal

funds under all open awards.” 24 On January 31, 2025, in New York, the U.S. District Court for the

District of Rhode Island granted the plaintiff states’ motion for a temporary restraining order,

holding that the states were likely to succeed on the merits of their claims that the OMB Memo M-

25-13 violated the APA and a host of constitutional provisions, and enjoining the government

defendants from freezing federal funding to the states, as threatened in OMB Memo M-25-13.25

In holding that the plaintiff states were likely to prevail on their claims, the court highlighted that

the executive branch’s attempt to unilaterally suspend funds was arbitrary and capricious,

unauthorized by law, and “threaten[ed] the States’ ability to conduct essential services.” 26 Then,

on February 3, 2025, the U.S. District Court for the District of Columbia granted a temporary

restraining order in National Council of Nonprofits, enjoined the defendants from freezing funding,

and directed the defendants to release any funds they had paused. 27

       86.     On January 29, 2025, OMB rescinded OMB Memo M-25-13. 28 However, in a

public statement, the White House Press Secretary said that OMB only rescinded OMB Memo M-

25-13 to “end any confusion caused by the court’s injunction,” that the recission of the




       24
         National Council of Nonprofits v. OMB, No. 1:25-CV-00239, 2025 WL 314433, at *2
(D.D.C. Jan. 28, 2025).
      25
         New York v. Trump, No. 1:25-CV-00039, 2025 WL 357368 (D.R.I. Jan. 31, 2025).
      26
         Id. at *2.
      27
         National Council of Nonprofits v. OMB, No. 1:25-CV-00239, 2025 WL 368852
(D.D.C. Feb. 3, 2025).
      28
         OMB, Memorandum for Heads of Executive Departments and Agencies, Recission of
M-25-13 (Jan. 29, 2025), https://www.cogr.edu/sites/default/files/OMB%20M-25-14.pdf.


                                                  28
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Memorandum was “NOT a rescission of the federal funding freeze,” and that the “President’s EO’s

[sic] on federal funding remain in full force and effect, and will be rigorously implemented.” 29

        87.     As the U.S. District Court for the District of Rhode Island recognized, the “alleged

rescission of the OMB Directive was in name-only” and “[t]he substantive effect of the directive

carries on.” 30 The court also noted that the rescission “may have been issued simply to defeat the

jurisdiction of the courts.” 31 Accordingly, the court rejected the government defendants’ argument

that the rescission rendered plaintiffs’ claims moot, explaining that “[b]ased on the Press

Secretary’s unequivocal statement and the continued actions of Executive agencies, the Court finds

that the policies in the OMB Directive that the States challenge here are still in full force and effect

and thus the issues presented in the States’ TRO motion are not moot.” 32 Similarly, the U.S.

District Court for the District of Columbia said that “[t]he rescission, if it can be called that, appears

to be nothing more than a thinly veiled attempt to prevent this court from granting relief.” 33

        88.     On January 29, 2025, the acting director of OPM issued a memo titled “Initial

Guidance Regarding President Trump’s Executive Order Defending Women” (the “January 29

OPM Memo”) that purports to implement the Anti-Gender Order. 34 The January 29 OPM Memo

is similar to the January 21 OPM Memo implementing the Anti-Diversity1 Order, insofar as it

gave agencies forty-eight hours to “terminate” all programs, contracts, and grants and “[c]ancel




        29
           Karoline Leavitt (@PressSec), X (Jan. 29, 2025, 1:40 p.m.),
https://x.com/PressSec/status/1884672871944901034.
        30
           New York, 2025 WL 357368, at *4.
        31
           Id.
        32
           Id. at *5.
        33
           National Council of Nonprofits, 2025 WL 368852, at *7.
        34
           OPM, Memorandum for Heads and Acting Heads of Departments and Agencies, Initial
Guidance Regarding President Trump’s Executive Order Defending Women (Jan. 29, 2025),
https://chcoc.gov/content/initial-guidance-regarding-president-trump%E2%80%99s-executive-
order-defending-women.


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any trainings that inculcate or promote gender ideology or have done so in the past,” among other

things. 35

        89.      To implement the President’s Executive Orders, Defendant agencies have begun

issuing stop-work orders or contract termination notices, forcing organizations to “cease and

desist” performance of contracts, programs, and activities that, in the Administration’s view, relate

to DEIA. Plaintiffs are among those who have received such stop-work orders or termination

notices.

        90.      On January 22, 2025, Defendant DOL sent all Employment and Training

Administration (“ETA”) recipients, including Plaintiff NUL, a memorandum titled “Immediate

Implementation of Executive Orders ‘Ending Radical and Wasteful Government DEI Programs

and Preferencing’ and ‘Ending Illegal Discrimination and Restoring Merit-Based Opportunity.’”36

Specifically, the memorandum stated: “Effective immediately, all recipients of federal financial

assistance awards are directed to cease all activities related to ‘diversity, equity, and inclusion’

(DEI) or ‘diversity, equity, inclusion, and accessibility’ (DEIA) under their federal awards,

consistent with the requirements of the EOs titled ‘Ending Radical and Wasteful Government DEI

Programs and Preferencing,’ issued on January 20, 2025, and ‘Ending Illegal Discrimination and

Restoring Merit-Based Opportunity,’ issued on January 21, 2025.” 37             The memorandum

continued: “All awardees must immediately cease all award activities related to DEI or DEIA. All

other award activities should continue.” 38




        35
           Id. at 1–2.
        36
           DOL, Training and Employment Notice 21-24, at 1 (Jan. 22, 2025),
https://www.dol.gov/sites/dolgov/files/ETA/advisories/TEN/2024/TEN%2021-24/TEN%2021-
24.pdf.
        37
           Id.
        38
           Id. at 2.


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       91.     On January 23, 2025, Defendant HUD sent Plaintiff NFHA an email with the

subject “Immediate Action - STOP WORK ORDER,” directing it to “cease and desist all work

activities associated with environmental justice, diversity, equity, and inclusion (DEI).”

       92.     On January 24, 2025, NFHA received a follow-up email from HUD, advising that,

with respect to some HUD funding, any grants with certain terms deemed to have a “conceptual

relationship” to the Executive Orders would receive greater scrutiny. Such terms included “racial,”

“underserved,” “affirmatively,” “systemic,” “adversely,” “accessible,” and “disparate,” among

others. These terms appear in some of the very laws and regulations about which NFHA and its

members seek to educate the public and which they enforce, such as the Fair Housing Act and the

Equal Credit Opportunity Act. 39

       93.     On January 29, 2025, Defendants CDC and HHS sent the city of Chicago, which

subcontracts CDC and HHS grants to Plaintiff AFC, a letter directing it to “immediately terminate,

to the maximum extent, all programs, personnel, activities, or contractors promoting ‘diversity,

equity, and inclusion’ (DEI) at every level and activity . . . that are supported with funds from this

award.” The letter further stated that, “[a]ny vestige, remnant, or re-named piece of any DEI

programs funded by the U.S. government under this award are immediately, completely, and

permanently terminated.” The city of Chicago confirmed receipt of these notices to Plaintiff AFC

on February 1, 2025, and that they would affect its subcontracts.




       39
          See, e.g., 42 U.S.C. § 3604(f)(3)(C)(i) (requiring public and common use areas of
dwellings to be “readily accessible to and usable by” persons with disabilities and a dwelling to
be “accessible” in numerous other ways under the Fair Housing Act); id. § 3608(e)(5) (requiring
HUD secretary to “administer the programs and activities relating to housing and urban
development in a manner affirmatively to further the policies” of the Fair Housing Act); 24
C.F.R. § 100.500(a) (providing that practice “has a discriminatory effect where it actually or
predictably results in a disparate impact”); 15 U.S.C. § 1691(d) (providing protections for
applicants who receive an “adverse action” from creditors).


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       94.     Also on January 29, 2025, in a press briefing, Press Secretary Karoline Leavitt

stated, “[I]t is the responsibility of this president and this administration to be good stewards of

taxpayer dollars. That is something that President Trump campaigned on. That’s why he has

launched DOGE, the Department of Government Efficiency, who is working alongside OMB.

And that’s why OMB sent out this memo last night, because the president signed an executive

order directing OMB to do just this. And the reason for this is to ensure that every penny that is

going out the door is not conflicting with the executive orders and actions that this president has

taken. So, what does this pause mean? It means no more funding for illegal DEI programs. It

means no more funding for the Green New Scam that has ta- — cost [sic] American taxpayers tens

of billions of dollars. It means no more funding for transgenderism and wokeness across our

federal bureaucracy and agencies.” 40

       95.     On February 5, 2025, OPM Acting Director issued a memorandum titled “Further

Guidance Regarding Ending DEIA Offices, Programs and Initiatives” instructing federal agencies

to terminate all DEIA offices, policies, and programs that allegedly “unlawfully discriminate” in

employment actions based on protected characteristics, including race, sex, national origin, and

disability. 41 It defines “unlawful discrimination relating to DEI” to “include[] taking action

motivated, in whole or in part, by protected characteristics.        To be unlawful, a protected

characteristic does not need to be the sole or exclusive reason for an agency’s action.” 42




       40
            The White House, Press Briefing By Press Secretary Karoline Leavitt (Jan. 29, 2025),
https://www.whitehouse.gov/briefings-statements/2025/01/press-briefing-by-press-secretary-
karoline-leavitt/.
         41
            OPM, Memorandum to the Heads and Acting Heads of Departments and Agencies,
Further Guidance Regarding Ending DEIA Offices, Programs and Initiatives (Feb. 5, 2025),
https://www.chcoc.gov/content/further-guidance-regarding-ending-deia-offices-programs-and-
initiatives.
         42
            Id. at 1.


                                                 32
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        96.     On February 5, 2025, Attorney General Pam Bondi issued a memorandum to all

DOJ employees titled, “Ending Illegal DEI and DEIA Discrimination and Preferences (“DOJ

Memo 1”). 43 It purports to implement the Anti-Diversity2 Order, which it describes as “making

clear that policies relating to [DEI] and [DEIA] ‘violate the text and spirit of our longstanding

Federal civil-rights laws’ and ‘undermine our national unity.’” 44

        97.     DOJ Memo 1 directs the Department’s Civil Rights Division to investigate and

penalize entities in both the private sector and federally funded educational institutions that engage

in DEI and DEIA policies and programs.

        98.     DOJ Memo 1 also directs the DOJ’s Civil Rights Division and the Office of Legal

Policy to submit a report by March 1, 2025, recommending enforcement actions against DEI and

DEIA policies. The report must include, among other things, a plan for deterring DEI and DEIA

policies through criminal investigations and civil compliance actions, including up to nine targeted

investigations. 45

        99.     Also, on February 5, 2025, the Attorney General issued a memorandum titled,

“Eliminating Internal Discriminatory Practices” (“DOJ Memo 2”) directing the elimination of DOJ

DEI and DEIA programs, policies, and related initiatives. 46




        43
           Office of the Attorney General, DOJ, Memorandum to All Department Employees,
Ending Illegal DEA and DEIA Discrimination and Preferences (Feb. 5, 2025),
https://www.justice.gov/ag/media/1388501/dl?inline.
        44
           Id. at 1.
        45
           Id. at 1–2.
        46
           Office of the Attorney General, DOJ, Memorandum to All Department Employees,
Eliminating Internal Discriminatory Practices (Feb. 5, 2025),
https://www.justice.gov/ag/media/1388556/dl.


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        100.   DOJ Memo 2 further directs DOJ, by March 15, 2025, to assist OMB in reviewing

and revising government-wide policies to eliminate references to DEI and DEIA in federal

acquisition, contracting, grants, and financial assistance procedures.

        101.   On February 6, 2025, the White House published “Memorandum for the Heads of

Executive Departments and Agencies.” 47        In this public-facing memorandum, the President

declares that “[i]t is the policy of my administration to stop funding NGOs that undermine the

national interest” and that the agencies “shall align future funding decisions with the interests of

the United States and with the goals and priorities of my Administration, as expressed in executive

actions.” 48

        102.   These agency actions have eliminated what the agencies deem to be DEIA

programs and activities—and demonstrate an intent to eliminate more of such programs and

activities in the future—without defining what types of programs and activities are banned as

“DEI” or DEIA” and without any prior determinations of their illegality.

        103.   Likewise, these agency actions cut off federal funding, through contracts or grants,

to any program or activity that the agencies have determined is or will determine to be “DEI” or

“DEIA”—or related to “DEI” or “DEIA”—without any prior determination of (a) why they are

considered to be “DEI” or “DEIA” or (b) why they are illegal pursuant to criteria that is articulable,

discernible, and publicly known.

        104.   These actions are arbitrary and capricious and do not follow administrative

procedures established pursuant to federal law.



        47
           The White House, Memorandum for the Heads of Executive Departments and
Agencies, Advancing United States Interests When Funding (Feb. 6, 2025),
https://www.whitehouse.gov/presidential-actions/2025/02/memorandum-for-the-heads-of-
executive-departments-and-agencies/.
        48
           Id.


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       105.    In addition, the agency actions and statements by the Trump Administration

corroborate the purpose of the Executive Orders as suppression of speech and viewpoints

supportive of DEIA efforts with which the Administration disagrees, to the detriment of people of

color and/or LGBTQ people, including those served by Plaintiffs.

III.   THE PRESIDENT DEPARTED FROM STANDARD PROCEDURES IN
       ISSUANCE AND IMPLEMENTATION OF THE EXECUTIVE ORDERS.

       106.    Presidents historically follow specific procedural steps for issuing executive orders,

which ensure that they are properly reviewed, vetted, and implemented. One example of this

procedure can be found in the provisions of 1 C.F.R. § 19.2—“Routing and approval of drafts”—

which lays out procedures for review by OMB, the Attorney General, and the Office of the Federal

Register, in order to ensure legality and language before submission of the executive order to the

President for signature.

       107.    These procedures are typically referenced in the executive order itself with

provisions for amendment to reconcile the executive order with past orders, as well as instructions

to the relevant cabinet Secretary to draft rules and regulations for implementation. 49

       108.    Additionally, executive orders that affect government contracting are typically

submitted to the Federal Acquisition Regulatory Council for development of proposed

implementing regulations to be published in the Federal Register and, upon adoption, incorporated

into federal government contracts.

       109.    The challenged Executive Orders reflect a radical departure from past executive

orders and from these standard procedures. For example, unlike prior workplace discrimination-

related executive orders, the Anti-Diversity2 Order does not instruct the Secretary of Labor to



       49
          See, e.g., Exec. Order No. 13672, 79 Fed. Reg. 42,971 (Dec. 9, 2014) (instructing the
Secretary of Labor to “prepare regulations to implement the requirements” of the order).


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undertake further rulemaking to implement the requirements of the Order.             Instead, Anti-

Diversity2 Order merely instructs the DOL to cease “promoting diversity,” “holding contractors

and subcontractors responsible for ‘taking affirmative action,’” and allowing contractors to

“engage in workforce balancing.”

        110.    In another departure from the ordinary procedural attributes of executive orders

concerning workplace discrimination, the Anti-Diversity2 Order lacks any mechanism for

rulemaking to modify the Federal Acquisition Regulation (“FAR”), applicable provisions of which

are incorporated as binding terms in all federal procurement contracts. 50 The FAR is codified in

title 48 of the Code of Federal Regulations. Ordinarily, to amend the FAR (and the binding terms

for government contracts specified therein)—e.g., to include the language required by the Anti-

Diversity2 Order—agencies must go through general rulemaking procedures, which include

publication of the proposed “procurement policy, regulation, procedure, or form and provide for a

public comment period for receiving and considering the views of all interested parties on the

proposal.” 51 The length of the comment period may not be less than 30 days. 52 Further, the

procurement policy or regulation “may not take effect until 60 days after it is published for public

comment in the Federal Register” unless “there are compelling circumstances for the earlier

effective date.” 53

        111.    Contrary to these procedures, there was no notice published in the Federal Register

of the Anti-Diversity2 Order’s changes to government contracting requirements. Thus, federal




        50
           48 C.F.R. § 1.301(a)(1).
        51
           41 U.S.C. § 1707(b); see also 48 C.F.R. § 1.301(b); 48 C.F.R. Subpart 1.5.
        52
           Id.
        53
           Id. § 1707(a).


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contractors have not been afforded an opportunity to comment on the Anti-Diversity2 Order’s

terms before they are incorporated into federal contracts.

       112.    Although waiver of the notice would be permitted if “urgent and compelling

circumstances make compliance with [those] requirements impracticable,” 54 on information and

belief, there has been no specific articulation as to the “urgent and compelling circumstances” that

would render the notice and comment requirements impracticable here.

       113.    Individual federal agencies also can issue FAR “deviations”—i.e., variations from

standard FAR provisions and clauses—in accordance with specified procedures “when necessary

to meet the specific needs and requirements of each agency.” 55 On February 15, 2025, the Civilian

Agency Acquisition Council (“CAAC”) issued a Memorandum for Civilian Agencies (CAAC

Letter 2025-01) authorizing individual civilian agencies to “issue a class deviation to ensure

compliance with [the Anti-Diversity2 Order and the Anti-Gender Order].” 56 Among other things,

the class deviation authorizes the removal of a series of standard FAR clauses prescribed under

FAR subpart 22.8, entitled “Equal Employment Opportunity.” On February 15, 2025, the U.S.

General Services Administration (“GSA”) issued a FAR class deviation in reliance on the CAAC

Memorandum for Civilian Agencies. 57

       114.    The memoranda issued by OPM and OMB purporting to implement the Executive

Orders also did not go through standard procedures. Under regulatory planning rules, agencies are




       54
           Id. § 1707(d).
       55
           48 C.F.R. § 1.402.
        56
           GSA, Memorandum for Civil Agencies, CAAC Consultation to Issue a Class Deviation
From the Federal Acquisition Regulation (FAR) Regarding Executive orders 14173 and 14168
(Feb. 15, 2025), https://www.acquisition.gov/sites/default/files/caac/CAAC_Letter_2025-01.pdf.
        57
           GSA, Press Release, GSA Announces FAR Class Deviations, Guidance for Contracting
Officers (Feb. 18, 2025), https://www.gsa.gov/about-us/newsroom/news-releases/gsa-announces-
far-class-deviations-guidance-for-contracting-officers-02182025.


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required to submit all significant regulatory actions to the Office of Information and Regulatory

Affairs (“OIRA”) for review before issuing them to the public. 58 It is unlikely that such submission

occurred here; as of the date of this complaint, OIRA has not listed the memoranda on their list of

completed reviews.

IV.    THE EXECUTIVE ORDERS ARE VAGUE.

       115.      The challenged Executive Orders are replete with vague and undefined terms and

phrases, the precise meanings of which are necessary to understand the scope of its prohibitions.

Under the terms of the challenged Executive Orders, there is no objective way to determine which

speech activities are permitted and which are prohibited, creating a broad chilling effect and

inviting unpredictable, uneven, and discriminatory enforcement against recipients of federal

funding, including Plaintiffs.

       116.      For example, nowhere do the Executive Orders define the terms “diversity, equity,

and inclusion,” “DEI,” “diversity, equity, inclusion, and accessibility,” or “DEIA.”

       117.      Similarly, the Executive Orders do not define the term “equity” when used

independently from “diversity, equity, inclusion, and accessibility,” even though Section 2(b) of

the Anti-Diversity1 Order terminates “equity-related” grants and contracts, along with other DEI

and DEIA activities.

       118.      Section 3(c) of the Anti-Diversity2 Order uses even broader vague terms,

mandating OMB to “[e]xcise references to DEI and DEIA principles, under whatever name they

may appear, from Federal acquisition, contracting, grants, and financial assistance procedures”

(emphasis added). Plaintiffs, therefore, are left speculating on what speech or activity might be

considered DEI or DEIA “principles” even without using the actual terms “DEI” or “DEIA.”



       58
            Exec. Order No. 12,866, 58 Fed. Reg. 51,735 (Oct. 4, 1993).


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       119.    When prohibiting certain speech and conduct, the Executive Orders use words that

fail to make clear what Plaintiffs are unable to do. Thus, for example, it is unclear what is meant

by “workforce balancing on race, color, sex, sexual preference, religion, or national origin,” which

is prohibited by Section 3(b) of the Anti-Diversity2 Order. Likewise, it is unclear what it means

to “promote” gender ideology, for which Section 3 of the Anti-Gender Order prohibits the use of

federal funds. Given these ambiguities, the Executive Orders fail to provide adequate notice as to

which concepts may or may not be promoted or included in the performance of federal grants

and/or contracts and have the effect of chilling Plaintiffs’ protected speech activity.

       120.    Additionally, while the Anti-Diversity1 and Anti-Diversity2 Orders are explicit in

their condemnation of DEIA policies, programs, and activities and in their expression of the

viewpoint that all such policies, programs, and activities violate federal anti-discrimination law,

the Orders create additional ambiguity by distinguishing at times between DEIA that is “legal”

from that which is “illegal.” For example, in Section 2 of the Anti-Diversity2 Order, President

Trump expresses a policy of terminating all “discriminatory and illegal preferences” and

“combat[ting] illegal private-sector DEI preferences, mandates policies, program, and activities.”

Similarly, Section 3(b) of the Anti-Diversity2 Order requires every federal contract or grant to

include a certification from the contractor or grantee that “it does not operate any programs

promoting DEI that violate any applicable Federal anti-discrimination law.”

       121.    The language in these provisions regarding illegality fails to specify who

determines what DEIA policies, programs, and activities are legal, as opposed to illegal, and

pursuant to what criteria. Nevertheless, President Trump’s hostility toward DEIA, and the Trump

Administration’s actions already taken to eliminate whatever they consider to be DEIA from the

federal workplace, demonstrate a strong likelihood that anything labeled DEIA, anything that uses




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terms that relate to historic or systemic racism, sexism, sexual orientation, or access for people

with disabilities, and anything connected to core civil rights policies, programs, and activities may

be considered illegal by this Administration without an investigation or other due process.

       122.    This is especially true because the Executive Orders provide no clear, objective

standards for enforcement. In the absence of any objective standards, the Executive Orders give

the Trump Administration unfettered discretion to enforce the prohibitions against federal

contractors and grantees, inviting arbitrariness and discrimination that is subject to the whims of

the decisionmaker.

       123.    The vagueness of the Executive Orders’ prohibitions, and the lack of discernible

standards by which to determine violations of the Orders, are demonstrated by communications

that Plaintiffs have received from federal agencies directing them to cease and terminate work

activities “associating with” or “promoting” DEI, without providing a definition of DEI. In

particular, Defendant HUD advised Plaintiff NFHA that terms like “racial,” “underserved,”

“affirmatively,” “systemic,” “adversely,” “accessible,” and “disparate,” among others, may

receive greater scrutiny because of their “conceptual relationship” with DEI.

       124.    Despite being vague, the Executive Orders include a range of serious penalties,

including cancellation of existing contracts and grants, loss of eligibility for future government

contracts and grants, and potential civil investigations, regulatory actions, and/or litigation. Thus,

the vagueness of the Executive Orders’ terms exacerbates the censorship of Plaintiffs’ speech

activities by producing an even greater chilling effect.

       125.    Because the provision of effective and comprehensive housing and health care

services, support, education, and advocacy for people of color, women, LGBTQ people, and

people living with HIV necessarily requires education and awareness of the historical and ongoing




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inequities resulting from, among other things, a person’s race, ethnicity, sex, gender identity,

and/or disability, Plaintiffs have no way to discern how to differentiate between the acceptable

provision of services in furtherance of their mission and the unacceptable “operation and

promotion of DEI” programs and activities or unacceptable promotion of “gender ideology.”

V.     THE EXECUTIVE ORDERS CHILL AND CENSOR PLAINTIFFS’ SPEECH
       AND VIEWPOINTS.

       126.    The Executive Orders threaten a range of adverse consequences against Plaintiffs

for engaging in speech or expression that the Trump Administration disfavors, including but not

limited to terminating their grant funding, cancelling their contracts, and threatening civil

enforcement actions and lawsuits.      The net result intended by the Executive Orders is an

impermissible chilling of Plaintiffs’ protected speech.

       127.    Sections 1 and 2(a) of the Anti-Diversity1 Order make clear that the Trump

Administration will end funding to organizations like Plaintiffs who express views with which the

Administration disagrees about topics such as race, sex, gender, and various concepts that it

characterizes as DEIA or DEIA-related, even if that speech occurs apart from a government

contract or grant program. For example, Section 3(b)(iv)(B) of the Anti-Diversity2 Order directs

agencies to require every federal contractor or grantee to certify, as a condition for receiving

funding, that they do not “operate any programs promoting DEI” (emphasis added).

       128.    Each of the Executive Orders contain provisions purporting to cancel federal

contracts and grants that relate, in any way, to viewpoints that the Trump Administration opposes.

For example, Section 2(b)(i) of the Anti-Diversity1 Order directs executive branch officials to

“terminate, to the maximum extent allowed by law, all . . . ‘equity-related’ grants or contracts.”

Section 3(e) of the Anti-Gender Order directs agencies to “take all necessary steps, as permitted

by law, to end the Federal funding of gender ideology,” and Section 3(g) provides that “[f]ederal



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funds shall not be used to promote gender ideology.” Section 3(c)(iii) of the Anti-Diversity2 Order

directs the OMB director to “[t]erminate all ‘diversity,’ ‘equity,’ ‘equitable decision-making,’

‘equitable deployment of financial and technical assistance,’ ‘advancing equity,’ and like

mandates, requirements, programs, or activities.”

       129.    These provisions effectively force Plaintiffs to either silence their speech and

viewpoints relating to issues that are of great societal importance and central to Plaintiffs’

missions, even outside of the government contract or grant program, or to forgo federal funding.

That choice is nearly an impossible one: while Plaintiffs cannot perform their work without

addressing views and ongoing concerns related to the communities they serve, they also rely on

federal funding to do that work. For example, part of NFHA’s work is to promote integrated

inclusive communities, which they do by promoting fair housing and educating people about the

importance of fair housing opportunities. Thus, the Executive Orders place Plaintiffs, like NFHA,

in an untenable bind that can result in a chilling effect of their speech and viewpoints.

       130.    The penalties that the Orders threaten also go beyond loss of funding. The Anti-

Diversity2 Order invokes the False Claims Act (“FCA”) 59 and its harsh treatment of “material”

false statements to the government. 60 Section 3(b)(iv)(A) of the Anti-Diversity2 Order requires

that, “for purposes of section 3729(b)(4) of title 31, United States Code,” contractors and grantees

agree that compliance with the Administration’s understanding of applicable Federal anti-

discrimination law is “material” to the government’s payment decisions. By invoking the FCA,

the Anti-Diversity2 Order exposes Plaintiffs to private lawsuits, government prosecution, and stiff

penalties of up to three times the amount of the government’s damages. 61



       59
          31 U.S.C. §§ 3729–33.
       60
          Id. § 3729(1)(a)(B).
       61
          Id. §§ 3729(1), 3730.


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       131.    The chilling effect of the Executive Orders is magnified by their provisions

directing officials to affirmatively identify private individuals and organizations suspected of

opposing the Administration’s views. As part of a plan to “deter DEI programs or principles,”

Section 4(b)(iii) directs each agency to make a list of “up to nine” private entities whose use of

“DEI programs or principles” makes them potential targets of investigation. Section 2(b)(ii) of

the Anti-Diversity1 Order directs agency, department, and commission heads to provide the

Director of OMB with a “list” of contractors “who have provided DEI training or DEI training

materials to agency or department employees” and grantees “who received Federal funding to

provide or advance DEI, DEIA, or ‘environmental justice’ programs, services, or activities” in the

last four years. Section 7(a)(ii) of the Anti-Gender Order directs agency heads to report to the

President on requirements the agency has imposed on “contractors” “to achieve the policy of the

order,” thus suggesting other, unspecified agency tracking of—and action concerning—

contractors and grantees like Plaintiffs.

       132.    The threat of these lists has an enormous deterrent effect on speech. Individuals

and organizations, including Plaintiffs, are concerned that speaking in public or in private will

place them at risk of being placed on these lists. And if Plaintiffs are placed on these lists, they

will be further deterred—either directly by subsequent adverse government action or indirectly

through negative consequences such as reputational harms. Moreover, the Executive Orders do

not make clear whether such lists will be made public. If so, the lists would invite targeted

harassment, hostility, and threats by members of the public.

VI.    THE EXECUTIVE ORDERS INJURE PLAINTIFFS.

       133.    Plaintiffs NUL, NFHA, and AFC advance equal opportunity and elevate the

standard of living for historically marginalized communities, with a particular focus on access to

jobs, housing, healthcare, and education, among other essential needs. Collectively, Plaintiffs’


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day-to-day work and organizational missions advance our civil rights laws, promote the equal

rights of people of color, women, LGBTQ people, and people with disabilities, and combat the

HIV/AIDS epidemic.

       134.    Plaintiffs proudly embrace the principles of DEIA through words and deeds, and

they condemn any discriminatory act that violates the civil rights of anyone, regardless of who

they are. Plaintiffs also firmly support and embrace the dignity and humanity of transgender

people. The Executive Orders deprive Plaintiffs of the ability to continue performing work central

to their organizational missions, deprive them of scarce financial resources, and jeopardize

Plaintiffs’ ability to provide desperately needed services.

       A. The Executive Orders and Related Agency Actions Irreparably Harm
          NUL.

       135.    NUL was founded over one-hundred years ago as a social services organization

with the goal of improving economic and social conditions for Black Americans. Under its first

director, George Haynes, NUL led the charge to help Black migrants find success in cities by

providing counseling, reading and writing classes, and childcare for workers, and by encouraging

employers across the country to hire Black Americans. During the 1930s and 1940s, NUL

continued to improve access to housing and employment opportunities for Black Americans and

advocated for federal anti-discrimination policies in the areas of housing, health, and welfare. In

the 1960s, NUL supported the March on Washington and was a key player in the advocacy that

led to the Civil Rights Act of 1964. Thus, addressing inequities experienced by Black people and

combatting anti-Black racism have always been central to NUL’s mission.

       136.    Over sixty years after passage of the Civil Rights Act of 1964, the fight for racial

equality is far from over. For example, in 2000, Black men earned 75 cents for every dollar earned

by white men; by 2024, this figure had decreased to 71 cents. Similarly, in 2024, Black women



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made 84 cents for every dollar earned by white women, slightly less than the 86 cents per dollar

earned in 2000. Black people remain relegated to lower wage jobs and less lucrative industries

compared to white people with similar levels of education. 62 The most common occupation for

white workers in 2019 was in management (at a median hourly wage of $32.69), while Black

workers were most commonly employed as cashiers (at a median hourly wage of $9.62). 63 Black

workers also face higher unemployment rates and lower wages than white workers. 64

       137.    Given these persisting inequities, NUL’s present-day economic justice

programming and advocacy remain critical. One of NUL’s central objectives is for every

American to have access to jobs with a living wage and good benefits. Thus, NUL, in partnership

with staff at the local affiliates, manages direct services programs across several key areas:

education and youth development, jobs and workforce, entrepreneurship, housing, and health.

       138.    NUL relies on federal funding to administer these community-centered programs.

Since 1973, NUL has consistently received federal funds to combat inequality, and has consistently

used those funds to provide direct services and technical assistance to communities of color. NUL

currently has 19 individual active federal grants, totaling $62 million and comprising 35% of

NUL’s annual budget. NUL also intends to apply for federal funding in the future, which is

necessary for the continued viability of its programs.

       139.    NUL’s federal grants come from several agencies, including the DOL, the CDC,

HUD, the DOJ, the DOC, the EPA, and the USDA. NUL won almost all of its current federal

grants through a rigorous and competitive Request for Proposals process. Some of these federal



       62
           Id.
       63
           See Rebecca Dixon & Amy M. Traub, Desegregating Opportunity: Why Uprooting
Occupational Segregation is Critical to Building a Good-Jobs Economy, NELP (May 2024),
https://www.nelp.org/app/uploads/2024/05/Desegregating-Opportunity-May-2024.pdf.
        64
           Id.


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funds are statutorily authorized by, inter alia, the Housing and Urban Development Act of 1968

and the Older Americans Act of 1965, which include requirements that some agency staff may

believe fall within the Executive Orders’ rubric of DEIA.

       140.    Principles of DEIA are plainly woven into, and highlighted by, every aspect of

NUL’s programming, including its federally funded work. In fact, a commitment to these

principles is central to NUL’s mission. NUL believes that representation is necessary to combat

inequities in education, wages, healthcare, housing, and the criminal legal system, among other

things. Importantly, NUL advocates not only for the advancement of Black people and other

people of color, but also for the full equality of people with multiple marginalized identities,

including LGBTQ people and people living with disabilities. For years, NUL has publicly

supported the LGBTQ community and condemned violence, hate, and discrimination against

transgender people.

       141.    Although NUL willingly serves anyone, regardless of race or gender, the

communities most served by NUL’s programs are people of color, especially Black people,

because of ongoing systemic inequalities. These inequalities demand the inclusion of DEIA

principles to ensure that the people most in need, who are disproportionately Black people and

other people of color, receive crucial services. NUL accomplishes these goals through lawful

activities that respect the rights of each individual person, regardless of their race, ethnicity, sex,

or gender identity.

       142.    The under-resourced and underserved communities receiving NUL’s services will

experience devastating consequences should Defendants terminate federal funding for these

services, resulting in substantial frustration of NUL’s mission. Examples of NUL’s critical work

for these underserved communities include the following.




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       143.    Urban Seniors Jobs Program is a program supported by the Senior Community

Service Employment Program grant from DOL. The grant is authorized by the Older Americans

Act. As part of NUL’s goal to ensure that every American has access to a job that pays a living

wage and good benefits, the Urban Seniors Jobs Program provides subsidized, service-based

training for economically insecure people aged 55 years or older, who are unemployed but

committed to finding employment. The program serves a very vulnerable population—91% of all

participants in the program lived below the poverty level prior to entering the program, and 56%

of participants lacked a college education. By design, every person recruited by the Urban Seniors

Jobs Program experiences two or more “most-in-need” characteristics—they must have a

disability, live in an area with persistent unemployment and/or have limited employment

prospects, have limited English proficiency, have low literacy skills, reside in a rural area, be

homeless or at-risk of homelessness, or be veterans. Through the Urban Seniors Jobs Program’s

efforts funded by the DOL, thousands of in-need seniors have been placed in jobs.

       144.    Partnering for Vaccine Equity is a program funded by a grant from the CDC

focused on improving vaccination coverage across disproportionately affected populations

through funded partnerships. The effort targets Black adults who were not up to date on their

COVID-19 and flu vaccinations. In the first year of the program, more than 80,000 individuals

across 38 local affiliates were vaccinated against COVID-19.

       145.    Project Ready Mentor is a program funded by a grant from the DOJ that helps

disconnected, vulnerable, court-involved, predominantly Black and Latino youth, ages 11–17,

develop social and emotional skills, aptitudes, and attitudes, foster anti-bullying and social

connectedness, move from grade to grade on time, and graduate high school ready for college or




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work without the need for remediation. Since 2020, Project Ready Mentor has served 9,446 young

people at 30 affiliate locations.

        146.    Apprenticeships Building America is a program supported by the DOL that

facilitates the recruitment of individuals for preparatory training and pre-apprenticeship with a

pathway into a registered apprenticeship program. As part of this program, NUL directly partners

with employers to advance DEIA efforts and provide technical assistance. This program serves a

population that is predominantly underutilized and underemployed, and majority people of color.

        147.    Urban Youth Pathways is a program funded by DOL that expands access to

livable wage jobs and career opportunities by providing youth and young adults, ages 14–21, with

opportunities to connect with part-time and full-time job placements, internships, behind-the-

business tours, certification programs, and apprenticeship opportunities. This program serves

historically underserved and marginalized youth, especially Black and Latino youth, including

those involved with foster care, experiencing homelessness, and/or from income-insecure

households.

        148.    Growth Opportunities is a program funded by DOL that helps vulnerable youth

secure wrap-around social services, including expungement, violence prevention workshops,

occupational skills training, and placement into work experiences such as internships,

apprenticeships, and part-time and full-time employment. The target service population for this

grant program is economically insecure Black youth who are either justice-involved or impacted

by violent crimes.

        149.    The Urban Construction Jobs Program is funded through a grant awarded to

Trade Futures from DOL. As a sub-grantee, NUL uses the pass-through money for this program

to recruit 7,000 participants to enroll in a trade council's Apprenticeship Readiness Program




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(ARP), which trains candidates to apply for apprenticeships, including classes in construction

industry awareness and math, health and safety, financial readiness. NUL’s local affiliates recruit

and train members of underrepresented communities, including Black people, formerly

incarcerated people, and women, to power the construction industry and build back their

communities.

       150.    Project Heartwood Youth Conservation Corp. is a program funded through a

grant from the USDA, which provides an educational summer employment experience in urban

forest planning, assessment, and management for disadvantaged youth, ages 15 to 18.

       151.    Comprehensive Housing Counseling is funded by HUD and makes housing

options more accessible and sustainable by leveling the economic playing field for Black and other

minority renters, homeowners, and the homeless. NUL has served 329,046 individuals and

families through this program over the course of its funding from HUD, from 2009 through the

present.

       152.    DEIA strategies are also central to NUL’s national advocacy. NUL has been on

the front lines of efforts to diversify America’s workforce for over 100 years. Even before

corporate leadership teams began including Diversity Officers or other similar positions, NUL had

already spent decades refining jobs and workforce programs that provide direct support to diverse

communities, whether living paycheck to paycheck, or navigating career changes or retirement.

Moreover, its leadership and staff regularly engage in public speaking events, including panels,

conferences, and workshops, that center on DEIA topics. Subject matter discussed by NUL at

these events include the history and impact of systemic racism, privileges and disadvantages

associated with race, implicit bias, and the collective responsibility of people of all races to

overcome and eradicate societal discrimination.




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        153.     Recently, NUL hosted an in-person event (which was also livestreamed and is

posted on their website) titled “The Demand Diversity Roundtable.” This event brought together

prominent civil rights leaders to discuss the critical need to safeguard DEIA principles, confront

regressive measures, and chart actionable strategies for advancing equal opportunity for all. NUL

also published an online resource called “Demand Diversity,”3 which lists ways for the public to

get involved with the fight to protect DEIA programs at their jobs, schools, and in their

communities at large.

        154.     NUL also publishes an annual report, State of Black America (“SOBA”), which is

NUL’s seminal contribution to public policy research on Black America. SOBA has been

published each year uninterrupted since the 1970s. SOBA is highly anticipated, and is used by

researchers, policymakers, and advocates. As such, it is a critical part of the organization’s identity

and reputation. NUL and its members use SOBA research and analysis in support of their federal

legislative advocacy. SOBA is also a source of fundraising for the organization.

        155.     NUL is concerned that, under the Executive Orders, it would no longer be eligible

for federal funding if it stays true to its history and purpose and refuses to stop calling out the

impacts of systematic discrimination. NUL is concerned that its explicit promotion of DEIA is

directly at odds with the Executive Orders. Because all of the federal grants NUL receives are

used to provide direct services with the purpose of advancing “equity,” NUL has reason to believe

all of its funding is at risk.

        156.     Because of the vagueness and ambiguity of the terms of these Executive Orders, it

is not clear to NUL’s leadership, with any certainty, what kind of equity- and/or DEIA-related

work would violate the Orders and what would not. As a result, NUL does not know what it must

refrain from saying or doing. NUL is also not sure whether the Executive Orders’ prohibitions




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extend to non-grant-funded work relating to DEIA, such as research, speaking engagements,

trainings, webinars, reports, including SOBA and its Equality Index, communications efforts like

the Demand Diversity Roundtable, and factsheets that are not supported by federal dollars.

        157.    This uncertainty leaves NUL with an impossible choice. It can continue doing what

it has been doing since its inception, which is demand diversity and call out inequities,

acknowledge this country’s history of racism and sexism and the existence of transgender people

and supporting them, and focus its efforts on the most vulnerable communities. This choice,

however, would require forfeiting the federal funds NUL relies on to operate the service programs

that directly aid vulnerable communities, which are predominantly people of color. In the

alternative, NUL could cease to center DEIA principles in its work, which would fundamentally

alter its reputation and mission as an organization, in hopes of retaining federal funding.

        158.    NUL is currently applying for and finalizing federal grants and federal grant

renewals. However, because there is no clarity regarding which grants are covered by the

Executive Orders, there is uncertainty regarding NUL’s eligibility to qualify for or fulfill future

contracts or grants. This includes a federal grant from the EPA, for which NUL has been selected

but has not yet been finalized with a fully executed agreement. This uncertainty harms NUL’s

ability to project future budgets and programming. Even before a grant agreement is finalized,

NUL must take actions in anticipation of the grant. After the announcement of the initial award

or renewal, but before the agreement is fully finalized, NUL must expend resources to prepare for

the work required by the grant. In anticipation of beginning a grant, NUL must prepare to hire

staff, build out organizational capacity, adjust organizational priorities, and shift existing resources

to accommodate future work.




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       159.    Without the additional support of federal funding, NUL and its local affiliates

would be forced to significantly divert resources. For example, without its current federal funding,

NUL would need to cut staff. Currently, NUL has 39 employees whose positions are paid in part

by federal funding. If NUL no longer qualifies for federal funding, the continued employment of

these federally funded employees is also at risk.

       160.    Without federal funding and without adequate staffing, NUL would also be forced

to cut community programming and direct assistance to the vulnerable populations it serves.

Cutting NUL’s programming at the local level would have catastrophic consequences across the

300 communities that the affiliate movement serves. Because NUL’s national affiliate movement

allows it to have an especially large impact, it is unlikely that every person seeking these services

will be able to access them elsewhere. Without NUL’s operations, participants will be pushed

further into poverty. Because many of NUL’s federally funded programs target people of color,

the loss of these services at the community level will disproportionately impact Black people and

other historically underserved groups.

       B.      The Executive Orders and Related Agency Action Irreparably Harm
               NFHA.

       161.    NFHA’s mission is to promote and to assist its members in promoting, residential

integration and combat discrimination in housing based on race, national origin, disability, sex,

religion, familial status, source of income, and other protected statuses covered by federal, state,

and local fair housing laws, including the federal Fair Housing Act. NFHA recognizes the

importance of home as a component of the American Dream and aids in the creation of diverse,

barrier-free communities throughout the nation. Specifically, NFHA works to eliminate housing

discrimination and enforce fair housing and fair lending laws to ensure equitable housing

opportunities for all people and communities. NFHA does this work through its education and



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outreach, member services, public policy, advocacy, housing and community development,

responsible AI, enforcement, and consulting and compliance programs.

       162.    To address the urgent need for fair housing, NFHA’s operating members also

conduct activities to advance fair housing for all and to enforce fair housing and fair lending laws,

including engaging in fair housing advocacy, enforcement, education, and outreach;

communicating with local community leaders on fair housing rights; and conducting training about

fair housing rights and responsibilities, the harmful effects of segregation, and the need to

counteract this historical practice. One of NFHA’s core activities is to assist its members in

accomplishing these tasks in various ways, including with the provision of technical assistance

and training. NFHA and its members’ educational activities and trainings educate the public on

issues concerning fair housing, racial segregation, the continuing impact of racial segregation on

housing in America, the United States’ history of systemic racism and its continuing effects,

explicit and implicit bias, racial privilege, and the importance of increasing diversity and access to

fair housing and high opportunity neighborhoods for persons impacted by historic and ongoing

discrimination in the housing market, including racial and ethnic minorities, women, LGBTQ

people, people with disabilities, families with children, and others.

       163.    NFHA and its members’ education activities and trainings also advocate for fair

housing for the LGBTQ community, such as by providing advocacy around how the Fair Housing

Act protects people against discrimination based on sex, including sexual orientation and gender

identity. The organization is committed to exploring ways to build bridges with organizations that

serve the LGBTQ community and steps that fair housing groups and industry partners can take to

make their workplaces more inclusive of people from the LGBTQ community. For example,

NFHA’s national media campaign in 2021 (which received federal funding) was almost entirely




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about discrimination based on LGBTQ status, and NFHA has continued to devote resources to

promote awareness that the Fair Housing Act bars such discrimination. NFHA helped coordinate

a webinar regarding how to investigate such discrimination, and it has included speakers at its

annual conferences from organizations devoted to combatting LGBTQ discrimination in housing.

       164.    To do its broad range of work, NFHA regularly receives funding from the federal

government through contracts and grants. NFHA is set to receive approximately $1.3 million in

the 2024 Fiscal Year and $2.5 million in the 2025 Fiscal Year, which would account for nearly

16.85% of NFHA’s Fiscal Year 2024 annual budget and 27.25% of NFHA’s Fiscal Year 2025

annual budget, respectively. Some of these federal funds are statutorily authorized by, inter alia,

the Housing and Community Development Act of 1987, which created funds for private fair

housing enforcement organizations to help enforce compliance with the Fair Housing Act, 65 and

includes requirements that, based on actions thus far, Defendants seem to construe to fall within

the Executive Orders’ rubric of DEIA. When signing this legislation into law, President Ronald

Reagan said it was necessary because “[t]oo often—one case is too many—families and

individuals seeking to buy or rent homes still confront bigotry and discrimination. Well, the fair

housing initiative program section of this bill will help ensure that such racism will not be

tolerated.” 66 NFHA also intends to apply for future federal funding that is necessary for the

continued viability of its programs.

       165.    NFHA programs currently funded by federal contracts or grants include the

following.



       65
           President Ronald Reagan, Remarks on Signing the Housing and Community
Development Act of 1987 (Feb. 5, 1988), transcript available at
https://www.reaganlibrary.gov/archives/speech/remarks-signing-housing-and-community-
development-act-1987.
        66
           Id.


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       166.    Fair Housing Initiatives Program (“FHIP”) is a HUD initiative with which

NFHA partners to fund its fair housing enforcement work, which includes investigating and halting

violations of fair housing and anti-discrimination laws, recovering compensation for victims of

housing discrimination, and preventing future discriminatory conduct. NFHA has received grants

through this HUD program many times over for several decades. NFHA also receives other types

of FHIP grants, including grants to educate the public and to assist in establishing new fair housing

organizations. NFHA has asked OMB if FHIP funding is affected by the Executive Orders but,

thus far, has not received a response.

       167.    Cloudburst Consulting Group has a contract with HUD and is subcontracting

with NFHA to provide training to cultivate strong financial management of FHIP fair housing

partners to ensure timely, thorough, and comprehensive financial management and reporting.

According to the work order for this subcontract, “The [training] outline will include a foundation

of cultural competency that addresses the diversity, equity, and inclusion necessary in all fair

housing work, and how to recognize and address individual and collective biases.” HUD issued a

stop work order and the remaining work for the contract was terminated following the Executive

Order, even though the work product already performed (including a training) did not address

diversity, equity, and inclusion.

       168.    In addition, NFHA has established a Responsible AI Lab with a focus on equity in

technology concerning human-made discrimination that is replicated and embedded in algorithmic

models assessing credit and insurance scoring, underwriting, and pricing models in housing and

financial services. NFHA views developing and advocating for DEIA within automation as part

and parcel of its fight for equitable access to housing opportunities. In June 2023, NFHA produced

industry-leading research, including a public joint report with Tech Equity Collaborative about




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how technology could add to the history of housing providers “disproportionately screening out

members of a certain group or groups in violation of the Fair Housing Act, Equal Credit

Opportunity Act, or another anti-discrimination law.” 67 The report’s overall goal was to “outline

ethical standards for responsible tech, advance effective policies for regulating AI tools, and

increase diversity and inclusion in the tech field.” 68

        169.    As part of its core work to achieve fair housing for all, NFHA regularly holds

conferences, symposia, and speaking events each year where speakers from various backgrounds

present on these aforementioned topics.        Attendees include employees of NFHA members,

representatives from the housing and lending industry, representatives from federal, state, and local

government agencies, and representatives from civil rights organizations. On average, NFHA

conducts at least two such events every year, and in recent years has regularly held more. For

example, in 2024, NFHA held a conference titled “Housing Equity Now: Building an Inclusive

and Just Future,” where member organizations, fair housing advocates, and subject matter experts

from around the country engaged in discussions on a range of fair housing issues. The conference

had panels that highlighted, among other things, the racial wealth gap and large disparities in rates

of homeownership between Black and white families and the connection between housing equity

and principles of diversity, equity, and inclusion. 69




        67
           Hannah Holloway et al., Privacy, Technology and Fair Housing – A Case for
Corporate and Regulatory Action, NFHA 5 (Aug. 22, 2023),
https://nationalfairhousing.org/resource/privacy-technology-and-fair-housing-a-case-for-
corporate-and-regulatory-
action/?utm_medium=referral&utm_source=TechEquity&utm_campaign=Privacy-Housing-
Paper.
        68
           Id. at 4.
        69
           Adelaide del Angel, Insights from the 2024 National Fair Housing Alliance
Conference, Open Cmtys. (July 23, 2024), https://www.open-communities.org/post/insights-
from-the-2024-national-fair-housing-alliance-conference.


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       170.    As an organization focused on preventing housing discrimination and providing

underserved populations with equal access to housing opportunities and otherwise working for

equity in the housing and lending markets, NFHA appreciates the importance of embedding DEIA

in everything it does. Therefore, within its own organizational plan, NFHA requires regular

policies and practices supporting DEIA, including but not limited to training for all staff. For

example, all staff received a three-hour training on DEIA at NFHA’s 2022 staff retreat. Before

NFHA’s 2022 annual conference, NFHA provided training for members and staff on how fair

housing organizations can embrace a culture of DEIA and create workplaces where future

generations of fair housing advocates can thrive and be leaders. NFHA also holds education and

outreach events and trainings with other non-profit organizations and housing and lending

stakeholders, including fair housing organizations, academics, think tanks, non-profit

organizations, financial services institutions, governmental entities, real estate sales organizations,

and housing and lending industry trade associations on issues of systemic racism, structural

inequities, sexism, unconscious bias, and intersectionality. These events and trainings explain the

continuing significance of residential segregation in many communities; the underlying cause of

racial disparities with respect to arrest and conviction rates; the relationship between segregation

and disparate health, housing, credit, and criminal justice outcomes; and programs and policies

that should be implemented to address continuing racial inequality.

       171.    One of NFHA’s primary publications is its annual Fair Housing Trends Report.

The Fair Housing Trends Report describes the universe of fair housing complaints received by

private fair housing organizations and government agencies, broken down by state, protected class,

type of housing or lending transaction, and more. It describes emerging and longstanding issues

in fair housing, covering issues like residential segregation and its intersection with structural




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inequality, environmental injustice, criminal injustice, and climate change. The report often also

deals with issues that impact fair housing, such as implicit bias, systemic racism, and sexism, and

is used by a wide group of stakeholders, including NFHA operating members and employees.

NFHA’s data, compiled from private non-profit fair housing organizations, HUD, state and local

Fair Housing Assistance Program agencies, and DOJ, are instructive in educating the public and

policy makers that housing discrimination continues to be a serious problem, it perpetuates racial

and ethnic inequality in communities throughout the nation, and it merits considerably more

attention and remedies.

       172.    NFHA also engages in public policy and advocacy around fair housing, the

elimination of discrimination, and the promotion of equitable outcomes in housing and lending.

NFHA’s leadership team testifies before Congress several times a year, and the organization’s

recommendations have helped, for example, usher in new policies at federal agencies to promote

a more fair and inclusive housing finance system.           NFHA advocated for more inclusive

representation in the federal government—such as ensuring that the Federal Reserve Board had its

most diverse slate of nominees, which resulted in the first Black women and first Latina to serve

in the Board’s 109-year history. A major part of NFHA’s public policy advocacy has been to

advocate for explicit protections in the Fair Housing Act to prohibit discrimination on the basis of

sexual orientation, gender identity, and marital and familial status.

       173.    Within its own organization, NFHA has a mutual interest with its employees in

ensuring DEIA in its workplace so that all employees, regardless of their race, ethnicity, sex,

gender, sexual orientation, or gender identity, feel welcome and valued. In fact, having a more

diverse and inclusive workplace increases employee satisfaction and productivity, produces

greater innovation and ideas, and helps NFHA better serve its mission overall. NFHA is concerned




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that the Executive Orders will have a detrimental impact not only on the communities it serves,

but also on its employees of color, female employees, and LGBTQ employees, who may not be

able to challenge the Executive Orders themselves.

       174.    As a direct result of the Executive Orders, NFHA and its members have

experienced and continue to experience a negative financial impact, a chilling effect on their ability

to carry out core activities, and the need to divert resources to combat these negative effects.

NFHA is concerned that the Executive Orders create a tension in which NFHA must either

continue its work addressing housing discrimination without references to DEIA—or any concepts

that the Trump Administration deems to be equivalent—or lose federal funding for all its existing

and future programs. Given those concepts’ inextricable relationship to ending discrimination

based on race, sex, and other protected classes, NFHA is not able to stop engaging in speech about

diversity, inclusion, equity, and accessibility—or topics related to these broad concepts—while

fully carrying out its work combating housing discrimination. Effective anti-discrimination

advocacy requires discussing the very concepts that the Executive Orders appear to eliminate from

the federal government and the private organizations, like NFHA, that it funds.

       175.    NFHA’s viewpoint is that effective enforcement or description of the Fair Housing

Act, Equal Credit Opportunity Act, and other relevant laws is impossible without reference to

many of these terms. If use of such routine terminology of federal law causes grants to be subject

to heightened scrutiny and recipients of federal grants and contracts to be subject to potential

termination, it will be considerably more difficult for NFHA and its members to apply for and

receive federal funding and to carry out core activities in furtherance of their missions. NFHA and

its members will be forced to change the way they discuss these laws, which are central to their

missions, in order to minimize the risk to their federal funding. In fact, NFHA has serious concerns




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that the Executive Orders’ reach has been extended broadly to govern core activities in promoting

compliance with and enforcing federal and state fair housing and civil rights laws. On information

and belief, the Trump Administration may use its attack on DEIA to constrict enforcement of

federal civil rights laws, including the Fair Housing Act.

         176.   Every year, there are over 4 million incidents of housing discrimination, with most

going unreported. 70 In 2023, private, non-profit fair housing organizations, like NFHA, processed

the majority of housing discrimination complaints at 75.52%. Private fair housing agencies like

NFHA serve on the frontlines, guiding everyday individuals and families impacted by unlawful

discrimination to seek the appropriate remedy to their harms. NFHA’s core business activities will

be hindered and its mission will be frustrated if its ability to engage the public and the government

about discrimination is barred, and if it is punished for such speech by a termination of vital federal

funds.

         177.   Since January 20, 2025, NFHA’s senior leadership has been spending hours each

day guiding affiliate members who do not know how to interpret the Executive Orders and are

hesitant to continue their work. The resources spent responding to the government’s Executive

Orders are diverted not only from the actual anti-discrimination services that NFHA provides

across the country, but also from public education activities about the importance of its fair housing

work.

         178.   If NFHA cannot continue its work addressing discrimination, bias, and harassment

in all areas of housing, the reluctance of communities of color, women, the LGBTQ community,

and people with disabilities to report the harms they experience will only be exacerbated. By its



         70
          Janelle Brevard, Housing Discrimination Complaints Continue to Trend Upward,
NFHA (July 10, 2024), https://nationalfairhousing.org/housing-discrimination-complaints-
continue-to-trend-upward/.


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plain terms, the Executive Orders threaten to bar enforcement and discussion of the Fair Housing

Act and other civil rights laws that make our country more equitable. If the Executive Order mean

something else, it is not clear, and NFHA has no way of ascertaining whether its grants directly

fall within the category of grants that would be terminated.

       179.    On a local level, predatory landlords and organizations engaged in implicit and

explicit bias against various underserved communities will be empowered to continue illegal

discrimination without the enforcement functions that organizations like NFHA and its members

provide in partnership with the federal government. These harms compound other inequities in

accessing fair housing in the United States. For example, in 2022, a record high 22.4 million renter

households were “cost-burdened,” meaning they spent more than 30% of their income on rent and

utilities. Black and Latino renters were more likely than white renters to be cost-burdened. These

disparities make it more difficult for Black and Latino renters to build wealth and save for down

payments for homeownership. Further, despite important efforts to close racial homeownership

gaps, the white homeownership rate is nearly 67% higher than the Black homeownership rate, 45%

higher than the Latino homeownership rate, and 20% higher than the rate for the Asian American

community.

       180.    NFHA has also advocated for the expansion of the Fair Housing Act to explicitly

prohibit discrimination on the basis of sexual orientation, gender identity, marital status, and

source of income. NFHA has taken the position that, following the Supreme Court’s decision in

Bostock, the Fair Housing Act bars housing discrimination based on sexual orientation or gender

identity; accordingly, NFHA and its members have investigated and brought complaints regarding

allegations of such discrimination. NFHA is not certain whether any of this activity falls under

the definition of “gender ideology,” a term that has no established meaning and is not clearly




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defined in the Executive Order. On top of the vagueness of the Administration’s use of the term

“gender ideology,” HUD already appears to view the Anti-Gender Order as compelling it not to

enforce existing legal protections for transgender persons. NFHA’s ability to carry out its mission

and core business operations will be adversely affected by this Executive Order if NFHA and its

member organizations must stop promoting fair housing for the LGBTQ community—including

by enforcing the Fair Housing Act in accordance with established case law—or lose federal

funding.

       181.    The Executive Orders interfere with NFHA’s ability to carry out its core business

activities in pursuit of its mission, which is to combat unequal access to housing opportunities.

NFHA’s mission is rooted around the belief that where people live matters because it affects access

to schools, to jobs, to good health, and to everything people need to succeed. NFHA believes that

only by speaking clearly about what has happened to protected classes in the pursuit of housing

can we make progress toward fairer housing markets. Given that NFHA’s core mission is to work

to dismantle illegal, systemic discrimination, Plaintiff NFHA is irreparably harmed by the

Executive Orders.

       C.      The Executive Orders and Related Agency Action Irreparably Harm
               AFC.

       182.    AFC brings together service providers and funders to develop systems that meet

the needs of people living with HIV or AIDS. Since its inception, AFC has led both state- and

city-wide efforts to coordinate essential medical and support services for people living with

HIV/AIDS in Illinois and greater Chicagoland. Preventing new cases of HIV is at the core of

AFC’s work.

       183.    Every day, AFC supports almost 7,000 people living with or vulnerable to HIV who

need support to achieve their health and life goals. This work includes intentionally focusing on



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the communities and populations that are disproportionately impacted by the HIV epidemic. In

Chicago, and across the nation, the populations most impacted by the HIV epidemic include Black,

Latino, and transgender communities. Currently, of all of the clients in AFC’s programs, 57.5%

are Black, 26.8% are Latino, and 2.5% identify as Indigenous, Asian, or multicultural.

Additionally, 35% of AFC’s clients are gay or lesbian, 7% are bisexual, 1.2% are queer, and 8.5%

are transgender, non-binary, or genderqueer.

       184.    AFC is committed to prioritizing marginalized populations disproportionately

impacted by social determinants that contribute to health disparities in HIV/AIDS. HIV and

chronic conditions disproportionately impact marginalized populations. As an organization that

has been doing this work for 40 years, AFC recognizes that it will have the greatest impact on the

HIV epidemic by focusing its efforts on those most impacted by HIV, based on epidemiological

data and unmet need: young Black gay and bisexual men, transgender women of color, Black

women living in areas with high diagnoses of HIV, and Latino gay and bisexual men.

       185.    AFC receives a majority of its funding from HHS and HUD. This federal funding

supports a range of critical services, including HIV prevention, treatment, case management, and

supportive housing programs for people living with HIV.

       186.    Specifically, AFC receives federal grants through the CDC, the NIH, HRSA, the

ACL, and the 340B Drug Discount Program. Additionally, AFC administers federal pass-through

funding from the Illinois Department of Public Health (IDPH) and the Chicago Department of

Public Health (CDPH).

       187.    AFC also receives HUD funding through the Housing Opportunities for Persons

with AIDS (“HOPWA”) program, which supports rental subsidies, permanent supportive housing,

and homelessness prevention services for individuals living with HIV.




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       188.    Federal funding accounts for approximately 83.4% of AFC’s total budget—

amounting to $34.8 million annually. The loss of this funding would force AFC to cease

operations, eliminating services for nearly 7,000 people annually, including 1,300 households

currently receiving housing assistance.

       189.    On January 28, 2025, AFC attempted to draw down federal grant funds to continue

providing housing and case management services but was unable to process the request due to a

federal administrative lock on funds. AFC was subsequently able to draw down on funds the

following week after a TRO was issued against the Administration’s freeze.

       190.    AFC plays a key role in coordinating case management for over 30 Chicago-based

organizations serving people living with HIV. As part of this effort, AFC trains approximately

160 case managers across 31 agencies, equipping them to provide trauma-informed, culturally

competent services tailored to Black, Latino, and transgender communities who are

disproportionately affected by HIV.

       191.    AFC’s Welcome Home Program has been directly affected by the funding freeze.

AFC’s Welcome Home program helps people living with HIV who are leaving prison or jail to

connect with stable housing. Transgender women are disproportionately represented in this

population. Homelessness is extremely high among transgender people; a 2024 CDC report

indicated that 31% of transgender people in one survey reported being unhoused for up to 11

months in the previous year. 71 The program’s ability to offer gender-affirming housing and

healthcare referrals is now in jeopardy.




       71
          Ruthanne Marcus et al., Transgender Women Experiencing Homelessness — National
HIV Behavioral Surveillance Among Transgender Women, Seven Urban Areas, United States,
2019–2020, CDC (Jan. 25, 2024),
https://www.cdc.gov/mmwr/volumes/73/su/su7301a5.htm?s_cid=su7301a5_w.


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        192.    AFC’s Women’s Connection Program, which provides HIV services tailored to

Black cisgender and transgender women, has also been disrupted. This initiative focuses on

domestic violence advocacy, healthcare access, and economic stability, all of which require

cultural competency training and service delivery that the Executive Orders now threaten.

        193.    AFC’s ability to train case managers and service providers in cultural competency,

trauma-informed care, and gender-affirming practices is now in question, further exacerbating

existing health disparities.

        194.    The loss of federal funding would not only harm AFC’s ability to provide direct

services, but would also impair AFC’s ability to engage in critical public health advocacy. This

advocacy includes ongoing work with the Illinois Getting to Zero initiative, a statewide effort to

end the HIV epidemic by 2030.

        195.    The Executive Orders limit federal data collection on gender identity, making it

impossible for AFC to track and respond to public health crises affecting marginalized populations.

Without access to federal funding for data collection, AFC will not be able to identify emerging

HIV outbreaks, develop targeted testing initiatives, or implement effective prevention strategies.

        196.    The Executive Orders prevent AFC from acknowledging or addressing transgender

health disparities, forcing AFC to violate best practices in HIV prevention and care. For example,

transgender women in the United States have a 21.6% HIV prevalence rate, which is exponentially

higher than for other populations. Culturally competent services are essential for increasing

engagement in HIV care and achieving viral suppression. The Anti-Gender Order’s repudiation

of “gender identity” and prohibition of the promotion of “gender ideology” directly impedes

Plaintiff AFC’s mission as an HIV services organization by preventing it from effectively serving

the transgender community—a group disproportionately impacted by HIV.




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       197.     The Anti-Gender Order’s language preventing recipients of federal funds from

acknowledging the existence of transgender people renders it impossible for Plaintiff AFC to

provide culturally competent and affirming services, including targeted HIV prevention, testing,

and treatment services that are critical for transgender people.

       198.     For example, AFC must refer transgender people to healthcare providers who have

received transgender cultural competency training and medical training in providing healthcare

services to transgender people. Medical providers make transgender clients comfortable with

disclosing their transgender status through actions like using their chosen name and correct

pronouns.     If transgender people do not disclose their transgender status, important health

conditions could be missed; for example, older transgender women who have prostates need

regular screening to detect cancer. When identifying housing for transgender people, AFC staff

must take into account the need for transgender people to be placed in neighborhoods where they

will be safe, since “transgender people are over four times more likely than cisgender people to

experience violent victimization.” 72

       199.     By forcing recipients of federal funds, including Plaintiff AFC, to omit essential

aspects of transgender identity in outreach, programming, and services, the Anti-Gender Order not

only undermines Plaintiff AFC’s mission to combat HIV among vulnerable populations but also

contributes to further marginalization of a community already facing significant health disparities.

The percentage of transgender women who are virally suppressed is 67%, 73 which is far lower




       72
           Andrew R. Flores et al., Gender Identity Disparities in Criminal Victimization:
National Crime Victimization Survey, 2017–2018, Am. J. of Pub. Health (Mar. 23, 2021),
https://williamsinstitute.law.ucla.edu/press/ncvs-trans-press-release/.
        73
           Jeffrey S. Becasen et al., HIV Care Outcomes Among Transgender Persons with HIV
Infection in the United States, 2006–2021, Nat’l Library of Med. (Feb. 1, 2022),
        https://pmc.ncbi.nlm.nih.gov/articles/PMC10680039/.


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than the 90% rate that AFC achieves among people living with HIV who are receiving case

management funded by the Ryan White Program.

       200.    The Executive Orders jeopardize life-saving programs by banning any reference to

systemic racism, gender bias, or LGBTQ discrimination in federally funded trainings, service

delivery, and public health outreach. As a result, AFC’s core programming is now in direct conflict

with federal funding restrictions.

       201.    AFC’s ability to fulfill its mission, which is to mobilize communities to create

equity and justice for people living with and vulnerable to HIV, is now under direct threat. Without

immediate intervention, AFC will be forced to scale back or shut down vital programs, leaving

thousands of people without essential HIV care and housing services.

       202.    AFC has already begun experiencing irreparable harm due to the Executive Orders

and the subsequent federal funding freeze. The lack of clear guidance from federal agencies has

created confusion, fear, and instability among service providers, funders, and community partners.

       203.    AFC cannot comply with the Executive Orders without fundamentally undermining

its mission. The forced elimination of DEI-related programming would result in the loss of life-

saving services for Black, Latino, and transgender communities, worsening health disparities that

AFC has spent decades working to reduce.

       204.    The federal government’s attempt to silence HIV service providers is not just

unconstitutional; it is deadly. AFC cannot be silent in the face of policies that jeopardize the health

and safety of the communities it serves.

VII.   THE EXECUTIVE ORDERS ARE DISCRIMINATORY.

       205.    During these early days of his second administration, President Trump is devoting

substantial federal resources to attacking and eliminating DEIA programs. President Trump was

vociferous in his opposition to the increased focus on diversity, equity, and accessibility in the


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aftermath of George Floyd’s killing and the ensuing mass demonstrations against anti-Black

racism.        That discriminatory sentiment—to oppose efforts to eradicate systemic racial

discrimination suffered by Black people in the United States— motivated the issuance of the Anti-

Diversity1 and Anti-Diversity2 Orders.

          206.    In May 2025, the world watched in horror as video footage showed George Floyd

cry for help and ultimately die while former Officer Derek Chauvin kneeled on his neck. In the

weeks following George Floyd’s killing, 15–26 million people in 4,700 demonstrations across the

United States protested against anti-Black racism and police violence. 74          Outrage spread

worldwide, as tens of thousands of protesters marched against structural racism in cities across the

globe. At the height of the largest movement, half a million people in the United States marched

in 550 locations on a single day—June 6, 2020. 75 In addition, over 170 Confederate symbols—

which have long been associated with the enslavement of Black people in the United States—were

removed from public spaces or renamed. 76

          207.    Public acknowledgment of anti-Black racism and the urgent need to remedy its

ongoing harms proliferated in the private sector. Professional sports associations like the National




          74
           John Eligon, Black Lives Matter Has Grown More Powerful, and More Divided, N.Y.
Times (June 14, 2021), https://www.nytimes.com/2021/06/04/us/black-lives-matter.html.
        75
           Larry Buchanan et al., Black Lives Matter May Be the Largest Movement in U.S.
History, N.Y. Times (July 3, 2020), https://www.nytimes.com/interactive/2020/07/03/us/george-
floyd-protests-crowd-size.html.
        76
           Damien Cave et al., Huge Crowds Around the Globe March in Solidarity Against
Police Brutality, N.Y. Times (June 9, 2020),
https://www.nytimes.com/2020/06/06/world/george-floyd-global-protests.html; see also Alan
Taylor, The Statues Brought Down Since the George Floyd Protests Began, Atlantic (July 2,
2020), https://www.theatlantic.com/photo/2020/07/photos-statues-removed-george-floyd-
protests-began/613774/.


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Football League and NASCAR voiced their support for Black Lives Matter 77 and the need to

remedy anti-Black racism nationwide. Numerous corporations expressed support for racial justice

protesters, their own Black employees, and the Black community writ large, as well as the urgent

need to eradicate racism. 78 In the midst of this climate, jobs related to the pursuit of DEIA rose

by 55% between June and August 2020.

       208.    In the midst of the widespread support for eradicating anti-Black racism, President

Trump made his disdain for that effort clear. On July 3, 2020, in response to protests against

monuments of men who enslaved Black people, President Trump signed an Executive Order to re-

erect monuments of these men in a National Garden of American Heroes. 79        On September 17,

2020, President Trump hosted the inaugural White House Conference on American History, where

he maligned Critical Race Theory and The 1619 Project—the New York Times’ historical account

of American slavery and the contributions of Black Americans—as “crusade[s] against American

history,” “toxic propaganda,” and “ideological poison that, if not removed, [would] . . . destroy

our country.” 80 During his remarks, President Trump explained that this was why he “banned

trainings in this prejudiced ideology from the federal government and banned it in the strongest

manner possible.”




       77
           Tonya Pendleton, NASCAR stands for ‘Black Lives Matter’ in video, The Grio (June 8,
2020), https://thegrio.com/2020/06/08/nascar-black-lives-matter/; Mark Maske and Adam
Kilgore, What made Roger Goodell say ‘Black Lives Matter’ and where it leaves the NFL, Wash.
Post (June 6, 2020), https://www.washingtonpost.com/sports/2020/06/06/roger-goodell-black-
lives-matter/.
        78
           Tiffany Hsu, Corporate Voices Get Behind ‘Black Lives Matter’ Cause, N.Y. Times
(May 31, 2020), https://www.nytimes.com/2020/05/31/business/media/companies-marketing-
black-lives-matter-george-floyd.html.
        79
           Exec. Order No. 13934, 85 C.F.R. 41165 (2020).
        80
           Remarks by Donald J. Trump at a White House Conference on American History (Sept.
17, 2020), https://www.govinfo.gov/content/pkg/DCPD-202000691/pdf/DCPD-202000691.pdf.


                                                69
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        209.    Three days later, on September 22, 2020, President Trump issued an Executive

Order titled “Executive Order on Combating Race and Sex Stereotyping” (“EO 13950”), which

prohibited federal contractors and grantees from engaging in certain speech activities related to

what the Executive Order labeled “divisive concepts.” 81 Many of the so-called “divisive concepts”

pertained to systemic race and gender inequalities and/or efforts to acknowledge and remedy them.

        210.    As President Trump explained in a tweet, “A few weeks ago, I BANNED efforts to

indoctrinate government employees with divisive and harmful sex and race-based ideologies.

Today, I’ve expanded that ban to people and companies that do business . . . with our Country, the

United States Military, Government Contractors, and Grantees. Americans should be taught to

take PRIDE in our Great Country, and if you don’t, there’s nothing in it for you!” 82

        211.    When issuing EO 13950, President Trump presented an inaccurate narrative of

American history that minimized the outsized role of slavery, Jim Crow laws, and white supremacy

in the United States, thereby minimizing the ongoing harms and disadvantages to Black people

that remain unremedied. For example, in refusing to acknowledge the significant role of slavery

and white supremacy in the founding of the United States, EO 13950 pronounced that it was the

“belief in the inherent equality of every individual that inspired the Founding generation to risk

their lives, their fortunes, and their sacred honor to establish a new Nation . . . .” 83 This ahistorical

narrative continued in EO 13950’s assertion that the “racialized views of America” that “were




        81
            Exec. Order 13950, Combating Race and Sex Stereotyping, 85 Fed. Reg. 60683 (Sep.
22, 2020).
         82
            Donald J. Trump (@realDonaldTrump), Twitter (Sept. 22, 2020, 6:53 PM),
https://twitter.com/realDonaldTrump/status/1308539918075883523; Donald J. Trump
(@realDonaldTrump), Twitter (Sept. 22, 2020, 6:53 PM),
https://twitter.com/realDonaldTrump/status/1308539921829781504.
         83
            EO 13950 § 1.


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soundly defeated on the blood-stained battlefields of the Civil War” were likewise “rejected” by

our “Founding documents.” Id.

       212.    On October 8, 2020, in a sweeping action expanding the reach of EO 13950,

Assistant Attorney General Lee Lofthus ordered DOJ leaders to suspend not only DEIA trainings,

but also any related “programs, activities, and events.” 84 A week later, during the first debate for

the 2020 presidential elections, President Trump was asked why he ended “racial sensitivity

training that addresses white privilege or Critical Race Theory,” and he responded, “I ended it

because it’s racist . . . [t]hey were teaching people to hate our country, and I’m not going to . . .

allow that to happen.” 85

       213.    Only two months after President Trump issued EO 13950, a federal district court,

in Santa Cruz Lesbian and Gay Community Ctr. v. Trump, No. 20-CV-7741 (N.D. Cal.), enjoined

its enforcement, concluding that the plaintiffs were likely to succeed in showing that it violated

their rights to free speech under the First Amendment and due process under the Fifth Amendment.

See Santa Cruz, 508 F. Supp. 3d 521 (N.D. Cal. 2020). The plaintiffs in Santa Cruz were federal

contractors and grantees, including AFC, who were at risk of losing federal funding because their

mission-driven work required them to engage in speech and expression acknowledging that race

and gender inequalities created barriers to accessing quality health care services for people of color

and LGBTQ individuals, and related health disparities.




       84
           Katie Benner, Justice Dept. Suspends All Diversity and Inclusion Training for Staff,
N.Y. Times (Oct. 9, 2020), https://www.nytimes.com/2020/10/09/us/politics/justice-department-
diversity-training.html.
        85
           PBS NewsHour, WATCH: Biden urges unity to ‘defeat racism’; Trump decries racial
sensitivity training, YouTube (Sept. 29, 2020),
https://www.youtube.com/watch?v=pqGyzLjXfjo.



                                                 71
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       214.    Multiple federal courts have found state laws with prohibitions that are similar to

EO 13950 violative of the First Amendment and/or the Fourteenth Amendment’s Due Process

Clause. 86 Upon information and belief, no federal court has affirmed the legality of state

governmental restrictions similar to EO 13950.

       215.    President Trump continued to condemn “diversity, equity, and inclusion” programs

and activities during his campaign for a second term in office. For example, on December 21,

2024, at Turning Point’s AmericaFest 2024 conference, President Trump stated, “I’ll end all of the

Marxist diversity, equity, and inclusion policies across the entire federal government immediately.

And at the same time, we will ban these unlawful policies from . . . the private sector as well.” 87

       216.    Contrary to President Trump’s characterization of DEIA policies as “illegal,”

federal agencies have affirmed their legality. For example, 2006 guidance from the U.S. Equal

Employment Opportunity Commission (which remained in effect during President Trump’s first

administration) states that “Title VII permits diversity efforts designed to open up opportunities to

everyone.” 88 Moreover, in January 2023, the U.S. Department of Education issued guidance,




       86
            See, e.g., Honeyfund.com, Inc. et al. v. DeSantis et al., 622 F. Supp. 3d 1159 (N.D. Fla.
2022), aff’d, 94 F.4th 1272 (2024); Pernell et al. v. Fla. Bd. of Governors of the State Univ.
System et al., 641 F. Supp. 3d 1218 (N.D. Fla. 2022), appeal docketed, Pernell v. Lamb, No. 22-
13992 (11th Cir.); Black Emergency Response Team et al. v. Drummond et al., 737 F. Supp. 3d
1136 (W.D. Okla. 2024), appeal docketed, No. 24-6139 (10th Cir.); Local 8027 et al. v. Edelblut
et al., No. 21-CV-1077-PB, 2024 WL 2722254 (D.N.H. May 28, 2024), appeal docketed, No.
24-1690 (1st Cir.).
         87
            Trump Remarks at Turning Point’s AmericaFest 2024 (Transcript), Sinju Post (Dec.
23, 2024), https://singjupost.com/trump-remarks-at-turning-points-americafest-2024-
transcript/?singlepage=1.
         88
            U.S. Equal Emp. Opportunity Comm’n, Section 15 Race and Color Discrimination, in
Directives Transmittal: (EEOC No. 915.003) 15-31 (2006),
https://www.eeoc.gov/sites/default/files/migrated_files/policy/docs/race-color.pdf.


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stating that “[a]ctivities intended, in whole or in part, to further objectives such as diversity, equity,

accessibility, and inclusion are not generally or categorically prohibited under Title VI.” 89

        217.    President Trump issued the Executive Orders during the first week of his second

administration—some on his very first day. By issuing the Anti-Diversity1 and Anti-Diversity2

Orders, President Trump effectuated his long-held intent to eradicate policies and programs—

many initiated in response to George Floyd’s killing and the ensuing racial justice

demonstrations—that aim to dismantle longstanding inequalities for Black people.

        218.    DEIA has been used often as a proxy for race, and the contention that DEIA results

in “racial preferences” for “unqualified” people is a common trope to disparage Black candidates.

Thus, the false presumption that DEIA and merit are mutually exclusive perpetuates pernicious

racial stereotypes of Black people that have been used to justify their exclusion and

underrepresentation.

        219.    The false assumption that Black people lack merit fails to acknowledge the present-

day discrimination that prevents qualified Black candidates from having equal opportunities—a

form of racial discrimination that is well-documented.            For example, from 2019 to 2021,

researchers sent 80,000 resumes to apply for 10,000 jobs using resumes with equivalent

qualifications, but applicants’ names were changed to suggest that they were white or Black, and

male or female. 90 The research found that several companies asked to interview applicants with




        89
           Office for Civil Rights, U.S. Dep’t of Educ., Fact Sheet: Diversity & Inclusion
Activities Under Title VI 1 (Jan. 2023),
https://www.ed.gov/sites/ed/files/about/offices/list/ocr/docs/ocr-factsheet-tvi-dia-
202301.pdf?utm content=&utm name=&utm term=.
        90
           Claire Cain Miller & Josh Katz, What Researchers Discovered When They Sent 80,000
Fake Resumes to U.S. Jobs, N.Y. Times (Apr. 8, 2024),
https://www.nytimes.com/2024/04/08/upshot/employment-discrimination-fake-
resumes.html?searchResultPosition=1.


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Black or female names significantly less frequently than white and male applicants with equivalent

qualifications. Even increasing the qualifications of the Black applicants to be more meritorious

than the white applicants did not help—they were still less likely to be called back than less-

qualified white applicants. 91

       220.      The racially biased stereotype of Black people being unqualified and lacking merit

is reflected in the Anti-Diversity2 Order’s official title: “Ending Illegal Discrimination and

Restoring Merit-Based Opportunity.” The Order perpetuates this stereotype by stating, “Illegal

DEI and DEIA . . . deny, discredit, and undermine the traditional American values of hard work,

excellence, and individual achievement in favor of an unlawful, corrosive, and pernicious identity-

based spoils system. Hardworking Americans who deserve a shot at the American Dream should

not be stigmatized, demeaned, or shut out of opportunities because of their race or sex.” 92

       221.      By inaccurately concluding that DEIA denies “merit-based opportunities,” the

Anti-Diversity2 Order refuses to acknowledge barriers to opportunities for Black people that have

no bearing on their qualifications or merit. The Trump Administration starts from the false premise

that there are no existing racial inequalities. With this false premise in place, it characterizes as

discriminatory any effort to mitigate the racial inequalities that exist through DEIA.

       222.      The Anti-Diversity1 and Anti-Diversity2 Orders claim to be enforcing federal civil

rights and anti-discrimination laws—and thus barring “illegal” DEIA—but that claim does not

mitigate the Orders’ intent to discriminate; rather, it amplifies it. In addition to the substantial

departures from the usual procedures to issue executive orders, see supra Section III, the Anti-

Diversity1 and Anti-Diversity2 Orders take the unusual stance of presuming—without evidence—




       91
            Id.
       92
            Anti-Diversity2 Order § 1.


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the illegality of DEIA programs and circumventing the normal process of investigating and

litigating claims of civil rights violations.

        223.    It is the greatest irony that Black people, for whom many of our anti-discrimination

laws were enacted to benefit, have the heavy burden of actually proving racial discrimination,

despite irrefutable evidence that racial inequalities persist in virtually every sector of American

life. Yet, the Trump Administration presumes racial discrimination against white people and is

using the power and resources of the federal government to launch a full-scale assault on DEIA—

not only within federal agencies, but throughout the private sector as well.

        224.    Notably, the Executive Orders and subsequent DOJ memoranda contemplate

possible investigations—both civil and criminal—of DEIA. Upon information and belief, the

Trump Administration has not issued similar plans to use comparable federal resources to

investigate and prosecute racial discrimination against Black people or other people of color.

        225.    The Anti-Diversity1 Order’s rescission of Executive Order No. 11246 further

demonstrates the Trump Administration’s disregard of, and hostility towards, proactive efforts to

eradicate racial inequalities. In 1965, during the height of the Civil Rights Movement, President

Lyndon B. Johnson issued Executive Order No. 11246 to prohibit employment discrimination

based on race, color, religion, and national origin by recipients of federal contracts and

subcontracts and required affirmative action programs. Issued in the wake of the passage of Title

VII of the Civil Rights Act of 1964, Executive Order No. 11246 intended to address entrenched

and rampant unemployment and income inequality that disproportionately harmed Black people,

as well as people of other racial, ethnic, religious, and national origin groups in the United States.93



        93
          Heather Timmons, Why LBJ signed executive order 11246 that Trump rescinded,
Reuters (Jan. 23, 2025), https://www.reuters.com/world/us/why-president-johnson-signed-
executive-order-1965-that-trump-rescinded-2025-01-23/.


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          226.   President Trump rescinded Executive Order No. 11246 despite stark evidence of

persistent inequality in employment opportunities based on race. By rescinding this longstanding

executive order, President Trump signaled his intent to prevent targeted efforts to help workers,

who are underrepresented due to persistent discrimination and other unfair barriers, access equal

employment opportunities. That intent is embodied in the Anti-Diversity1 and Anti-Diversity2

Orders.

          227.   The Anti-Diversity1 and Anti-Diversity2 Orders’ disproportionate harm to Black

people and other people of color is evident from Plaintiffs’ injuries. All of Plaintiffs’ mission-

driven work benefits Black people and other people of color, who are disproportionately harmed

by the racial wealth and income gap, lack of access to fair and adequate housing, and the

HIV/AIDS epidemic. See supra Section VI. By delegitimizing DEIA efforts to help Black people

and other people of color, and rendering those efforts illegal, the Anti-Diversity1 and Anti-

Diversity2 Orders necessarily harm them.

          228.   While the Anti-Diversity1 and Anti-Diversity2 Orders were issued with the intent

to discriminate against Black people on the basis of race, the functional operation of the Orders

classifies benefits and harms by race and sex so that all people of color, as well as women and

LGBTQ people, are harmed by their prohibitions. At a minimum, the Anti-Diversity1 and Anti-

Diversity2 Orders were crafted to disproportionately benefit people of a particular race (white

people) while disproportionately harming people of another race (Black people, Indigenous

people, Latino people, and Asian American people, among others). The Anti-Diversity1 and Anti-

Diversity2 Orders additionally benefit people of a particular sex, sexual orientation, and gender

identity (men, cisgender people, and heterosexual people), while disproportionately harming




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people of other sexes, sexual orientations, and gender identities (e.g., women, transgender people,

lesbian, and gay people).

       229.    People harmed by the Anti-Diversity1 and Anti-Diversity2 Orders—people of

color, women, and LGBTQ people—are the same people who face discrimination and other unfair

disadvantages that prevent them from equal opportunities. The Orders, therefore, aim to eliminate

policies, programs, and activities that aimed to benefit people of color, women, and LGBTQ

people by increasing their diversity and inclusion in the workforce, housing, and healthcare,

remedying the inequity of any unfair barriers to their access to resources or opportunities, and

ensuring their full inclusion in economic and educational spaces.

       230.    Finally, the Anti-Gender Order’s express terms, which seek to erase and remove

transgender people from public life, see supra Section I.C., unequivocally establish sex-based

discrimination and unlawful animus.

                                     CLAIMS FOR RELIEF

                               FIRST CLAIM FOR RELIEF
                       VIOLATION OF THE FIRST AMENDMENT
                 (Viewpoint and Content Discrimination and Chilled Speech)

(Plaintiff NUL as to Defendants Trump, Kennedy, Jr., Micone, Lutnick, Turner, Monarez,
Bondi, Rollins, Zeldin, Vought, Schloss, HHS, DOL, DOC, HUD, CDC, DOJ, USDA, EPA,
                                   OMB, and OFCCP)

  (Plaintiff NFHA as to Defendants Trump, Turner, Bondi, Vought, Schloss, HUD, DOJ,
                                  OMB, and OFCCP)

      (Plaintiff AFC as to Defendants Trump, Kennedy, Jr., Turner, Espinosa, Monarez,
   Memoli, Nicholls, Bondi, Vought, Schloss, HHS, HUD, HRSA, CDC, NIH, ACL, DOJ,
                                  OMB, and OFCCP)

       231.    Plaintiffs repeat and incorporate by reference each and every allegation contained

in the preceding paragraphs as if fully set forth herein.




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       232.    Plaintiffs’ claim for relief arises from the principle of non-statutory review to enjoin

Executive Officers and Departments seeking to enforce illegal, ultra vires Presidential action.

        233.    The First Amendment provides that the government “shall make no law . . .

abridging the freedom of speech.” U.S. Const. amend. I.

        234.    The First Amendment provides strong protection against government attempts to

control the topics discussed—and even more so, the views expressed—in public discourse. As the

Supreme Court has put it, “If there is any fixed star in our constitutional constellation, it is that no

official, high or petty, can prescribe what shall be orthodox in politics, nationalism, religion, or

other matters of opinion.” W. Va. State Bd. of Educ. v. Barnette, 319 U.S. 624, 642 (1943).

Accordingly, laws that restrict speakers from expressing certain viewpoints are a “blatant” and

“egregious” form of government speech control that is “presumed to be unconstitutional.”

Rosenberger v. Rector & Visitors of Univ. of Va., 515 U.S. 819, 828–29 (1995); see also id. at 828

(“It is axiomatic that the government may not regulate speech based on its substantive content or

the message it conveys.”).

        235.    Plaintiffs engage in speech and advocacy to combat systemic racism, sexism, and

anti-LGBTQ discrimination and to advance equity. Such speech and advocacy constitute core

political speech that is critical to their missions and necessary to effectively provide their services.

Plaintiffs wish to continue engaging in such speech and advocacy.

        236.    Plaintiffs engage in such speech and advocacy in multiple ways. They conduct

certain training of their own staff, the staff of other federally funded entities, and others on topics

relating to implicit bias, health disparities, and the needs of specific communities they serve. They

do not conduct these trainings on behalf of the government itself, but for their own employees,

their clients, or the populations they serve. They receive federal funding both directly and




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indirectly, including through other federal contractors and grantees. They perform outreach to

populations that experience systemic obstacles to accessing medical care, housing, and other

services, including systemic racism, sexism, and anti-transgender bias. Plaintiffs’ decision to

conduct trainings that advance DEIA and acknowledge the personhood of transgender people

constitutes protected First Amendment activity, as does their decision to acknowledge and address

these issues in the provision of their services.

       237.    The purpose and effect of the Executive Orders is to suppress constitutionally

protected First Amendment activity by targeting specific content and viewpoints through a range

of mechanisms. The Executive Orders endorse idiosyncratic, fringe, unscientific, and counter-

factual viewpoints with respect to (among other things) DEIA programs; the continued existence

of systemic obstacles to equality for members of populations that have experienced discrimination

historically; whether discrimination continues to the present day; whether advocating for an end

to such discrimination and related disparities is a worthy exercise; whether transgender people

even exist; and the legal landscape surrounding enforcement of civil rights laws.

       238.    Defendants then use the Executive Orders to engage in impermissible viewpoint

and content discrimination by penalizing Plaintiffs’ speech that expresses a contrary viewpoint to

that of the government, including Plaintiffs’ core protected speech.

       239.    The Executive Orders penalize Plaintiffs for engaging in protected First

Amendment activity, primarily by leveraging the federal funding that is key to their ability to

operate and execute their missions.

       240.    The Executive Orders further require agencies to terminate equity-related grants

and ensure that no federal funding goes to grantees or contractors for the promotion of an

understanding that transgender people exist.




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         241.   The Anti-Diversity2 Order imposes coercive funding conditions that weaponize the

False Claims Act (31 U.S.C. §§ 3729 et seq.) to deter protected speech and expression related to

DEIA.

         242.   Section 3(b)(iv) of the Anti-Diversity2 Order requires that all federal contracts and

grants include a provision certifying that recipients do not engage in DEI activities that violate

civil rights laws. Given the vague and undefined nature of the term “illegal DEI,” this condition

creates a coercive and unconstitutional chilling effect by forcing federal grantees and contractors

to either self-censor or risk prosecution under the False Claims Act.

         243.   The threat of civil investigations, potential False Claims Act liability, and the risk

of funding termination restricts Plaintiffs and other non-profit organizations from advocating for

racial, gender, and LGBTQ equality.

         244.   These penalties and threats to funding are intended to chill the Plaintiffs from

engaging in speech and related advocacy central to their missions and to coerce them to refrain

from engaging in services and research essential to the health and welfare of the populations they

serve.

         245.   Discrimination against speech based on its content and viewpoint is a violation of

the First Amendment. Efforts to suppress speech based on the government’s opposition to the

speaker’s view are unconstitutional.

         246.   Further, viewpoint and content discrimination are presumptively unconstitutional,

requiring the government to justify its discrimination.

         247.   The government is unable to circumvent these First Amendment protections by

acting through private, third parties or conditioning government spending on restrictions to speech.




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       248.    Here, the Executive Orders and any related federal policy and directives violate the

Free Speech Clause of the First Amendment in at least four respects.

       249.    First, Defendants’ threats under the Executive Orders and any related federal policy

directives impermissibly burden and chill Plaintiffs’ exercise of constitutionally protected speech,

expression, and expressive conduct based on the content and viewpoint of their speech.

       250.    Second, Defendants intend the Executive Orders and any related federal policy

directives to coerce Plaintiffs to adopt, endorse, and comply with the government’s own viewpoint

as if it were their own. The forced-choice framework imposed by the Executive Orders is to

comply with viewpoint-based restrictions or lose federal funding. Plaintiffs are being forced to

either abandon their missions or risk financial ruin, effectively silencing advocacy for racial

justice, LGBTQ rights, and public health protections.

       251.    Third, as to those plaintiffs who refuse to be chilled or coerced to comply with the

government’s favored viewpoint, the Executive Orders and any related federal policy directives

discriminate against them for engaging in protected speech and expression of their own viewpoint.

Here, the Executive Orders and related actions make clear that they have the purpose of rooting

out views about DEIA that the Administration disagrees with and replacing them with its own.

The Executive Orders achieve that speech-restrictive purpose by chilling speech through multiple

mechanisms.

       252.    Fourth, the Executive Orders and any related federal policy directives impose an

unconstitutional condition on Congressional funding by requiring Plaintiffs, as a condition of

receiving public grants and contracts to relinquish their First Amendment rights of free speech by

refraining from speaking on a certain subject, i.e., DEIA. The Executive Orders are a mandate

spun from whole cloth that is antithetical to the federal interests and goals of the programs.




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        253.    The government lacks even a legitimate justification for its viewpoint and content

restrictions, let alone the compelling one required here.

        254.    The Executive Orders inflict current, direct First Amendment injury on Plaintiffs.

Further, Plaintiffs face a realistic danger of sustaining ongoing and future injuries in the future.


                       SECOND CLAIM FOR RELIEF
        VIOLATION OF THE FIFTH AMENDMENT - VOID FOR VAGUENESS

(Plaintiff NUL as to Defendants Trump, Kennedy, Jr., Micone, Lutnick, Turner, Monarez,
Bondi, Rollins, Zeldin, Vought, Schloss, HHS, DOL, DOC, HUD, CDC, DOJ, USDA, EPA,
                                   OMB, and OFCCP)

  (Plaintiff NFHA as to Defendants Trump, Turner, Bondi, Vought, Schloss, HUD, DOJ,
                                  OMB, and OFCCP)

    (Plaintiff AFC as to Defendants Trump, Kennedy, Jr., Turner, Espinosa, Monarez,
   Memoli, Nicholls, Bondi, Vought, Schloss, HHS, HUD, HRSA, CDC, NIH, ACL, DOJ,
                                   OMB, and OFCCP)

        255.    Plaintiffs repeat and incorporate by reference each and every allegation contained

in the preceding paragraphs as if fully set forth herein.

        256.    The Due Process Clause of the Fifth Amendment to the U.S. Constitution provides

that “[n]o person shall . . . be deprived of life, liberty, or property, without due process of law.”

U.S. Const. amend. V.

        257.    Under the Fifth Amendment, a governmental enactment, like the Executive Orders,

is unconstitutionally vague if it fails to provide a person of ordinary intelligence fair notice of what

is prohibited or is so standardless that it authorizes or encourages seriously discriminatory

enforcement. Put differently, governmental enactments are unconstitutionally void for vagueness

when their prohibitions are not clearly defined. Such enactments may also be void for vagueness

if they inhibit First Amendment freedoms.




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       258.     Vague prohibitions inhibit freedom of speech when individuals do not know

whether their speech is permitted and choose not to exercise their rights for fear of the

consequences.

       259.     The Executive Orders include vague and subjective terms that lend themselves to

conflicting interpretations and appear designed to authorize discriminatory and arbitrary

enforcement in order to achieve maximum chill of disfavored viewpoints.

       260.     The Executive Orders leave Plaintiffs guessing about whether they can or cannot

engage in speech and activities that express the need and intent to target support and services to

underrepresented and underserved communities by virtue of their race, ethnicity, sex, or disability

status. Nor can Plaintiffs reasonably ascertain the parameters of such speech and activity that is

and is not permissible under the Executive Orders’ terms. The Anti-Diversity2 Order provides no

definition of what constitutes promotion of DEI, and thus Plaintiffs do not know what they must

do or say to comply with the Order. Moreover, the Anti-Gender Order provides no definition of

what constitutes promotion of gender ideology, leaving Plaintiffs guessing as to whether any

acknowledgement of the existence of transgender people, or even the use of the term

“transgender,” would violate the Order.

       261.     The Executive Orders fail to provide reasonable and adequate notice as to which

speech, advocacy, and activities may or may not be permitted in the performance of federal grants

and/or contracts, or even permitted if funded by non-federal funds if Plaintiffs wish to continue to

receive federal funding.

       262.     In spite of the Executive Orders’ vagueness, they include a range of penalties,

including cancellation of existing contracts and loss of eligibility for future government contracts,

discontinuation of federal grants, and potential False Claims Act liability. The Executive Orders




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require contractors and grantees to agree that compliance with the government’s view is “material”

to funding for purposes of the False Claims Act, thus invoking the specter of vexatious litigation

and significant monetary damages under that Act. Anti-Diversity2 Order § 3(b)(iv)(A).

        263.    Plaintiffs engage in speech, as well as conduct trainings, research, services, and

advocacy, that acknowledges systemic racism, sexism, anti-LGBTQ bias, and the existence of

transgender people, all of which are central to fulfillment of their missions. Plaintiffs do not know

which of their activities are prohibited by the Executive Orders. Because of this uncertainty, they

are justifiably fearful of conducting any activities that might threaten their direct or indirect federal

funding, in spite of these activities’ centrality to their missions and their ability to serve vulnerable

and marginalized communities.

        264.    By predicating penalties and threatened liability on such imprecise terms, the

Executive Orders create risk of unguided enforcement. The indeterminate nature of what is

prohibited under the Executive Orders grants Defendants unrestrained discretion, resulting in risk

of arbitrary and selective enforcement treatment of private organizations, including Plaintiffs. The

Executive Orders violate the Due Process Clause of the Fifth Amendment to the U.S. Constitution

and are void for vagueness because they infringe on Plaintiffs’ constitutionally protected right to

free speech, provide inadequate notice of the conduct they purport to prohibit, and authorize

arbitrary, selective enforcement decisions.




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                        THIRD CLAIM FOR RELIEF
         VIOLATION OF THE FIFTH AMENDMENT - EQUAL PROTECTION
                            (Race Discrimination)

(Plaintiff NUL as to Defendants Trump, Kennedy, Jr., Micone, Lutnick, Turner, Monarez,
Bondi, Rollins, Zeldin, Vought, Schloss, HHS, DOL, DOC, HUD, CDC, DOJ, USDA, EPA,
                                   OMB, and OFCCP)

  (Plaintiff NFHA as to Defendants Trump, Turner, Bondi, Vought, Schloss, HUD, DOJ,
                                  OMB, and OFCCP)

    (Plaintiff AFC as to Defendants Trump, Kennedy, Jr., Turner, Espinosa, Monarez,
   Memoli, Nicholls, Bondi, Vought, Schloss, HHS, HUD, HRSA, CDC, NIH, ACL, DOJ,
                                   OMB, and OFCCP)

       265.      Plaintiffs repeat and incorporate by reference each and every allegation contained

in the preceding paragraphs as if fully set forth herein.

       266.      Plaintiffs’ cause of action arises from the principle of non-statutory review to enjoin

Executive Officers and Departments seeking to enforce illegal, ultra vires Presidential action.

       267.      The Fifth Amendment to the U.S. Constitution guarantees that no person shall be

“deprived of life, liberty, or property, without due process of law.” U.S. Const. amend. V.

       268.      The Fifth Amendment’s Due Process Clause makes the Fourteenth Amendment’s

guarantee of equal protection applicable to the federal government, its agencies, its officials, and

its employees.

       269.      The Equal Protection Clause of the Fourteenth Amendment prohibits denying “any

person . . . the equal protection of the laws.” U.S. Const. amend. XIV, § 1. This direction requires

“all persons similarly situated [to] be treated alike.” City of Cleburne v. Cleburne Living Ctr., 473

U.S. 432, 439 (1985).

       270.      A violation of Equal Protection need not rest “solely on . . . discriminatory

purposes” or even have a discriminatory purpose that is “dominant” or “primary.” Vill. of

Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252, 265 (1977).                 However, if a



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discriminatory purpose is a motivating factor in the decision, judicial deference is no longer

justified. Id. “Determining whether invidious discriminatory purpose was a motivating factor

demands a sensitive inquiry into such circumstantial and direct evidence of intent as may be

available.” Id. at 266.

       271.    Non-exhaustive factors that point to the existence of discriminatory intent include

(1) whether the impact of the action bears more heavily on one race than another; (2) the “historical

background” of the decision, particularly if it demonstrates other actions taken for an invidious

purpose; (3) any departures from normal procedures; (4) any “substantive departures” from factors

normally considered in reaching a decision; and (5) the administrative history of the decision. Id.

at 266–68.

       272.    The Anti-Diversity1 and Anti-Diversity2 Orders were promulgated and/or

implemented by the Trump Administration, at least in part, with the purpose of discriminating

against Black people and other people of color through the chilling and suppression of speech

concerning racism and through the targeting of federally funded entities that seek to address and

ameliorate systemic obstacles to racial equality for cessation of their federal grants and contracts.

Accordingly, the Anti-Diversity1 and Anti-Diversity2 Orders discriminate against Black people

and other people of color who are served by Plaintiffs’ programs and services and are unable to

avail themselves of their rights by frustrating Plaintiffs’ missions, chilling their speech on racism,

and penalizing them for their efforts to address harms and disadvantages disproportionately borne

by Black people and other people of color.

       273.    The history of the Anti-Diversity1 and Anti-DEIA-2 Orders, the sequence of

events, and the contemporaneous statements and actions of President Trump and officials in his

Administration raise a strong inference of a discriminatory purpose.




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       274.    The known and reasonably foreseeable discriminatory impact of the Anti-

Diversity1 and Anti-Diversity2 Orders on Black people and other people of color, among other

factors, raise a strong inference of a discriminatory purpose.

       275.    Moreover, the Anti-Diversity1 and Anti-Diversity2 Orders were motivated by,

perpetuate, and further entrench discriminatory and baseless stereotypes concerning the relative

qualifications of Black people and/or other people of color.

       276.    The Anti-Diversity1 and Anti-Diversity2 Orders classify beneficiaries of the

Orders by race by prohibiting DEIA policies, programs, and activities, which are established

means of combatting the effects of entrenched discrimination and other unfair barriers to

opportunities, to the advantage of white people and to the detriment of people of color.

       277.    In addition, the express terms of the Anti-Diversity1 and Anti-Diversity2 Orders

mandate that white people will disproportionately benefit, and people of color will be

disproportionately harmed from the Orders’ implementation and enforcement.

       278.    Accordingly, the Anti-Diversity1 and Anti-Diversity2 Orders discriminate against

people of color who are served by Plaintiffs’ programs and services and are unable to avail

themselves of their rights by frustrating Plaintiffs’ missions, chilling their speech on racial justice

issues, and penalizing them for their efforts to address harms and disadvantages disproportionately

borne by people of color.

       279.    The Anti-Diversity1 and Anti-Diversity2 Orders discriminate on the basis of race

by targeting equity-related grants for cessation because such grants benefit people of color. By

singling out the services provided by Plaintiffs for disfavor and cessation because they seek to

address racial inequalities, the Anti-Diversity1 and Anti-Diversity2 Orders discriminate against




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people of color, including those who are served by Plaintiffs, have a close relationship with

Plaintiffs, and are not in a position to vindicate their rights.

        280.    Moreover, the race discrimination from the Anti-Diversity1 and Anti-Diversity2

Orders frustrates Plaintiffs’ organizational missions.

        281.    Defendants lack even a rational justification for the Anti-Diversity1 and Anti-

Diversity2 Orders, let alone the compelling one required, nor are they adequately tailored.

        282.    Defendants’ violations cause ongoing harm to Plaintiffs and the Black people and

other people of color whom they serve.

                             FOURTH CLAIM FOR RELIEF
          VIOLATION OF THE FIFTH AMENDMENT - EQUAL PROTECTION
            (Sex, Sexual Orientation, Gender Identity, and Transgender Status)

(Plaintiff NUL as to Defendants Trump, Kennedy, Jr., Micone, Lutnick, Turner, Monarez,
Bondi, Rollins, Zeldin, Vought, Schloss, HHS, DOL, DOC, HUD, CDC, DOJ, USDA, EPA,
                                   OMB, and OFCCP)

  (Plaintiff NFHA as to Defendants Trump, Turner, Bondi, Vought, Schloss, HUD, DOJ,
                                  OMB, and OFCCP)

    (Plaintiff AFC as to Defendants Trump, Kennedy, Jr., Turner, Espinosa, Monarez,
   Memoli, Nicholls, Bondi, Vought, Schloss, HHS, HUD, HRSA, CDC, NIH, ACL, DOJ,
                                   OMB, and OFCCP)

        283.    Plaintiffs repeat and incorporate by reference each and every allegation contained

in the preceding paragraphs as if fully set forth herein.

        284.    The Anti-Gender Order and implementation discriminate against Plaintiffs and the

transgender people whom Plaintiffs serve on the basis of sex and transgender status, without lawful

justification, in violation of the equal protection component of the Due Process Clause of the Fifth

Amendment.

        285.    By directing agencies to withhold grants from entities that “promote gender

ideology,” the Anti-Gender Order discriminates based on sex and transgender status.



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       286.    The Anti-Gender Order facially discriminates based on sex because it creates

idiosyncratic and unscientific sex-based definitions for the purpose of exclusion and directs

agencies to withhold grants from entities that “promote gender ideology.”

       287.    The Anti-Gender Order also facially discriminates based on transgender status

because it expresses a disparaging, demeaning, idiosyncratic, and unscientific viewpoint about

transgender people and gender identity, denying that transgender people exist, deeming them

“false,” and ordering their exclusion from government recognition and protection.

       288.    The Anti-Gender Order was issued for the openly discriminatory purpose of

expressing governmental disapproval of transgender people, repudiating their existence,

preventing them from expressing gender identities that differ from the sex assigned to them at

birth, and imposing discriminatory burdens upon them in numerous respects in every aspect of

their daily lives. This animus-laden purpose is not a legitimate governmental interest and fails

under any standard of review.

       289.    Transgender people have experienced a long history of discrimination and continue

to suffer that discrimination. They are a discrete and insular group and lack the power to protect

their rights through the political process. A person’s gender identity or transgender status bears

no relation to that person’s ability to contribute to society, and gender identity is a core defining

trait that is so fundamental to a person’s sense of self and personhood that they cannot be required

to abandon it as a condition of equal treatment. Efforts to change a person’s gender identity

through intervention have been widely condemned.

       290.    Moreover, the sex, sexual orientation, and gender identity discrimination from the

Anti-Diversity1 and Anti-Diversity2 Orders frustrate Plaintiffs’ organizational missions.




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       291.    Discrimination on the basis of sex is presumptively unconstitutional and subject to

heightened scrutiny.

       292.    Discrimination based on transgender status is also presumptively unconstitutional

and subject to heightened scrutiny.

       293.    Defendants lack even a rational or legitimate justification for the Anti-Diversity1

and Anti-Diversity2 Executive Orders, let alone the exceedingly persuasive or compelling one

required, nor are they adequately tailored under any standard of review.

       294.    Defendants’ violations cause ongoing harm to Plaintiffs and the women and/or

LGBTQ people whom they serve.

                        FIFTH CLAIM FOR RELIEF
        ULTRA VIRES PRESIDENTIAL ACTION IN EXCESS OF AUTHORITY
                      (Usurping the Legislative Function)

(Plaintiff NUL as to Defendants Trump, Kennedy, Jr., Micone, Lutnick, Turner, Monarez,
Bondi, Rollins, Zeldin, Vought, Schloss, HHS, DOL, DOC, HUD, CDC, DOJ, USDA, EPA,
                                   OMB, and OFCCP)

  (Plaintiff NFHA as to Defendants Trump, Turner, Bondi, Vought, Schloss, HUD, DOJ,
                                  OMB, and OFCCP)

    (Plaintiff AFC as to Defendants Trump, Kennedy, Jr., Turner, Espinosa, Monarez,
   Memoli, Nicholls, Bondi, Vought, Schloss, HHS, HUD, HRSA, CDC, NIH, ACL, DOJ,
                                   OMB, and OFCCP)

       295.    Plaintiffs repeat and incorporate by reference each and every allegation contained

in the preceding paragraphs as if fully set forth herein.

       296.    The U.S. Constitution vests Congress, not the President, with the exclusive

authority over federal spending under Article I, § 8 and Article I, § 9, clause 7. The Executive

Orders usurp this power by unilaterally terminating or modifying federal grants and contracts

without congressional authorization for such actions.




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         297.     Article I of the Constitution vests Congress with the powers to make laws and

control the public fisc. The Presentment Clause provides that “[e]very Bill which shall have passed

the House of Representatives and the Senate, shall, before it become a Law, be presented to the

President of the United States.” U.S. Const. art. I, § 7, cl. 2. The Appropriations Clause provides

that “[n]o Money shall be drawn from the Treasury, but in Consequence of Appropriations made

by Law,” U.S. Const. art. I, § 9, cl. 7, and the Spending Clause vests Congress with the power to

use Treasury funds expend those funds for the “general Welfare of the United States.” U.S. Const.

art. I, § 8, cl. 1.

         298.     Thus, it is Congress, not the President, who is vested with the power of the purse.

The President does not have unilateral power to withhold federal funds that have been previously

authorized by Congress and signed into law, and the President does not have the power to impose

his own conditions on the use of funds when Congress has not delegated to him the power to do

so.

         299.     As part of its power over the public fisc, Congress distributes millions of dollars

every year in grants related to social services, community investment, employment, healthcare,

housing, and education. Congress may specify how its grants are used, generally by passing

federal statutes, or in their annual appropriations bill. None of the Congressional conditions placed

on the grants administered or disbursed contain the unique restrictions described in the Executive

Orders relating to DEIA or the promotion of “gender ideology.”

         300.     No provision of the Constitution authorizes the executive to enact, amend, or repeal

statutes, including appropriations approved by Congress and signed into law by the President. The

Executive cannot unilaterally amend or cancel appropriations that Congress has duly enacted.




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        301.    By directing agencies to terminate congressionally appropriated grants based on the

President’s own policy preferences, the Executive Orders attempt to amend, repeal, rescind, or

circumvent duly enacted federal statutes or appropriations. These mandates exceed the President’s

powers under Article II, unconstitutionally infringe upon those powers vested in Congress, and

attempt to amend federal legislation while bypassing Article I’s Bicameralism and Presentment

Clauses. See U.S. Const. art. I, § 7, cl. 2, 3.

        302.    By directing agencies to terminate or withhold congressionally appropriated grants,

the Executive Orders attempt to expend public funds to advance the President’s policy preferences,

rather than those of Congress.        This exceeds the President’s powers under Article II and

unconstitutionally infringes upon those powers vested in Congress.

        303.    These actions exceed the President’s powers under Article II, unconstitutionally

infringe upon those powers vested in Congress, and attempt to amend federal legislation while

bypassing Article I’s Bicameralism and Presentment Clauses.

        304.    Pursuant to 28 U.S.C. § 2201, Plaintiffs are entitled to a declaration that the

Executive Orders violate the constitutional principles of the separation of powers doctrine and

impermissibly arrogate to the executive power that is reserved to Congress.




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                        SIXTH CLAIM FOR RELIEF
        ULTRA VIRES PRESIDENTIAL ACTION IN EXCESS OF AUTHORITY
                           (Contrary to Statutes)

(Plaintiff NUL as to Defendants Trump, Kennedy, Jr., Micone, Lutnick, Turner, Monarez,
Bondi, Rollins, Zeldin, Vought, Schloss, HHS, DOL, DOC, HUD, CDC, DOJ, USDA, EPA,
                                   OMB, and OFCCP)

  (Plaintiff NFHA as to Defendants Trump, Turner, Bondi, Vought, Schloss, HUD, DOJ,
                                  OMB, and OFCCP)

    (Plaintiff AFC as to Defendants Trump, Kennedy, Jr., Turner, Espinosa, Monarez,
   Memoli, Nicholls, Bondi, Vought, Schloss, HHS, HUD, HRSA, CDC, NIH, ACL, DOJ,
                                   OMB, and OFCCP)

       305.    Plaintiffs repeat and incorporate by reference each and every allegation contained

in the preceding paragraphs as if fully set forth herein.

       306.    Far from authorizing the President to mandate that grant recipients refrain from

engaging in DEIA practices, addressing systemic obstacles to equality and health disparities, or

acknowledging and supporting transgender people, federal law specifically authorizes Plaintiffs’

equity-related services and advocacy. President Trump does not have the power to override those

statutes and prohibit grant recipients from doing precisely what Congress has directed, and what

duly promulgated regulations prescribe.        The Executive Orders are inconsistent with our

Constitution’s separation of powers.

       307.    The Executive Orders impose sweeping funding restrictions on federal contractors

and grantees, directing agencies to, inter alia, terminate “equity-related” grants and contracts

without lawful statutory basis. These actions violate the constitutional separation of powers

principles and amount to an unconstitutional exercise of executive authority over federal

appropriations.

       308.    When the President usurps congressional authority and infringes on the

constitutional rights of individuals, the essential role of the courts is to “say what the law is.” The



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Executive Orders should be declared unlawful, and the agency Defendants should be enjoined

from enforcing or implementing them.

       309.    The Executive Orders are contrary to the federal interests of the funding statutes

applicable to plaintiff NUL, including the Housing and Urban Development Act of 1968 and the

Older Americans Act of 1965.

       310.     NUL’s Housing Counseling Program is funded by a grant from HUD, authorized

by Section 106 of the Housing and Urban Development Act of 1968, 12 U.S.C. § 1701x. Pursuant

to statute, this grant is for the purpose of providing “information, advice, and technical assistance,

including but not limited to” “counseling and advice to tenants and homeowners . . . to assist them

in improving their housing conditions . . . .”51

       311.    The statute references the need for counselors to be competent in specific subject

matters, including without limitation “[f]air housing laws and requirements.” Fair housing laws

and requirements prohibit housing and lending discrimination on the bases of race, national origin,

religion, sex, disability, sexual orientation, gender identity, and other protected classes. Thus, the

Executive Orders’ prohibitions against DEIA, as viewed by agency officials, may bar NUL staff

from providing counseling on fair housing laws and requirements, in direct conflict with the

Housing and Urban Development Act.

       312.    Moreover, regulations governing the Housing Counseling Program refer to “fair

housing and predatory lending” as “approved housing counseling, education, and outreach topics”

that NUL counselors may provide and discuss with clients. However, to the extent “fair housing”

and “predatory lending” pertain to any specific communities vulnerable to housing discrimination

and predatory lending and are also associated with DEIA, as understood by agency officials, those

topics may be prohibited by the Executive Orders in contravention of agency regulations.




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       313.    NUL’s Urban Seniors Jobs Program is authorized by the Older Americans Act,

pursuant to which the Senior Community Service Employment Program (“SCSEP”) was

established. The SCSEP is a community service and work-based job training program for older

Americans. The program provides training for economically insecure, unemployed seniors who

are committed to finding employment opportunities. Participants also have access to employment

assistance through American Job Centers.

       314.    The Older Americans Act requires consideration of a program’s effectiveness in

targeting services for underserved older Americans with the greatest economic and social needs,

which the statute identifies as including “low-income minority individuals” and “older individuals

residing in rural areas.”52 Further, the statute requires a pre-approved plan for programs and

services to older individuals, which must include “specific objectives” for service provision to

certain, identified high-need populations, including without limitation “low-income minority older

individuals.”53 The Older Americans Act also requires outreach to certain older populations,

including without limitation “low-income minority individuals and older individuals residing in

rural areas” with the greatest economic and social needs, as well as “older individuals with severe

disabilities.”54 These statutory requirements may be undermined by the views agency officials

take under color of the Executive Orders.

       315.    The Executive Orders are contrary to the federal interests of the funding statutes

applicable to Plaintiff NFHA, including the Housing and Community Development Act of 1987.

This statute authorizes funds for private fair housing enforcement organizations, like NFHA and

its members, to help enforce compliance with the Fair Housing Act, which prohibits housing and

lending discrimination on the basis of race, national origin, religion, sex, disability, sexual

orientation, gender identity, and other protected classes. Based on agency actions thus far,




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Defendants seem to construe NFHA’s work enforcing the Fair Housing Act to fall within the

Executive Orders’ rubric of DEIA and, thus, subject to termination of federal funds.

       316.    The Executive Orders are contrary to the federal interests of the funding statutes

applicable to Plaintiff AFC, including the HIV Health Care Services Program and Housing

Opportunities for People with AIDS.

       317.    The statutory framework for the HIV Health Care Services Program (also known

as “Ryan White Program”) constituted the initial national response to HIV and explicitly directs

resources to underserved populations, reflecting Congress’s intent to address disparities in access

to healthcare for individuals living with HIV/AIDS. 42 U.S.C. § 300ff.

       318.    The Ryan White Program requires grant recipients to create HIV health services

planning councils that reflect the demographics of individuals with HIV/AIDS in a given area,

with particular consideration for disproportionately affected and historically underserved groups

and subpopulations. 42 U.S.C. § 300ff-12(b)(1).

       319.    The Ryan White Program also mandates that grant recipients target services to

underserved populations, including minority populations, ex-offenders, individuals with

comorbidities, low-income populations, inner-city populations, and rural populations. 42 U.S.C.

§ 300ff-52.

       320.    The Ryan White Program establishes the Minority AIDS Initiative to evaluate and

address racial and ethnic disparities in access to HIV care, with funding distributed based on the

disproportionate impact of HIV/AIDS on racial and ethnic minorities. 42 U.S.C. § 300ff-121.

       321.    The Housing Opportunities for People with AIDS (“HOPWA”) regulations

reinforce the prioritization of marginalized populations. They provide fair housing guidance and

nondiscrimination in the housing services. 24 C.F.R. § 574.300. HOPWA imposes affirmative




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outreach obligations on grantees to ensure all eligible individuals, including those at risk of

discrimination based on race, national origin, sex, or disability, are aware of and can access

HOPWA-funded housing and services. 24 C.F.R. § 574.603. Finally, the regulations explicitly

define “family” in a manner inclusive of LGBTQ people, ensuring access to housing assistance

regardless of sexual orientation or gender identity. 24 C.F.R. § 574.3.

       322.    The Executive Orders violate these statutory and regulatory mandates.         The

HOPWA and Ryan White programs are structured to remediate systemic inequities in healthcare

and housing, and executive orders that disregard these obligations contradict the express will of

Congress.

                            SEVENTH CLAIM FOR RELIEF
            VIOLATION OF THE ADMINISTRATIVE PROCEDURE ACT
(Contrary to Constitution, Excess of Statutory Authority, Arbitrary and Capricious)

(Plaintiff NUL as to Defendants Kennedy, Jr., Micone, Lutnick, Turner, Monarez, Bondi,
Rollins, Zeldin, Vought, Schloss, HHS, DOL, DOC, HUD, CDC, DOJ, USDA, EPA, OMB,
                                      and OFCCP)

 (Plaintiff NFHA as to Defendants Turner, Bondi, Vought, Schloss, HUD, DOJ, OMB, and
                                       OFCCP)

   (Plaintiff AFC as to Defendants Kennedy, Jr., Turner, Espinosa, Monarez, Memoli,
 Nicholls, Bondi, Vought, Schloss, HHS, HUD, HRSA, CDC, NIH, ACL, DOJ, OMB, and
                                        OFCCP)

       323.    Plaintiffs repeat and incorporate by reference each and every allegation contained

in the preceding paragraphs as if fully set forth herein.

       324.    Plaintiffs bring this claim for relief under the provisions of the Administrative

Procedure Act, 5 U.S.C. §§ 701–706.

       325.    Defendant agencies have taken actions to eliminate DEIA programs and activities

without defining what types of programs and activities are banned as “DEI” or DEIA” and without

any prior determinations of their illegality.



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        326.    They have also banned “gender ideology,” a term created by the federal government

based on idiosyncratic and unscientific sex-based definitions.

        327.    Likewise, these agency actions cut off federal funding, through contracts or grants,

to any program or activity that is “DEI” or “DEIA”—or related to “DEI” or “DEIA”—without any

prior determination of (a) why they are considered to be “DEI” or “DEIA” or (b) why they are

illegal pursuant to criteria that is articulable, discernible, and publicly known.

        328.    They also cut off federal funding, through contracts or grants, to any program

activity that promotes “gender ideology,” a term created by the federal government based on

idiosyncratic and unscientific sex-based definitions.

        329.    The agencies’ actions in response to the unlawful Executive Orders constitute

agency actions that should be set aside for at least three reasons.

        330.    The agencies’ actions taken pursuant to the Executive Orders are contrary to

constitutional right, power, privilege, or immunity in violation of 5 U.S.C. § 706(2)(B), as more

particularly described Claims for Relief One, Two, Three, and Four, above.

        331.    The agencies’ actions taken pursuant to the Executive Orders are in excess of

statutory jurisdiction, authority, or limitations, or short of statutory right, in violation of 5 U.S.C.

§ 706(2)(C), as more particularly described in Claim for Relief Five, above.

        332.    The agencies’ actions are arbitrary and capricious, in violation of 5 U.S.C.

§ 706(2)(A), as more particularly described in Claim for Relief Two, above.

        333.    The Court should hold unlawful and set aside the actions of the agencies acting

pursuant to the Executive Orders,




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                                      JURY TRIAL DEMAND

       Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs demand a trial by jury on all

claims triable.


                                     REQUEST FOR RELIEF

       Plaintiffs respectfully request that the Court grant the following relief:

       A.         A declaration pursuant to 28 U.S.C. § 2201 that Executive Order Nos. 14151,

14168, and 14173 and any implementing agency actions are unlawful, unconstitutional, and

invalid.

       B.         A permanent injunction enjoining Defendants, their officials, agents, employees,

assigns, and all persons acting in concert or participating with them from implementing or

enforcing Executive Order Nos. 14151, 14168, and 14173, including without limitation the

promulgation of any rules or regulations, in any manner against Plaintiffs by way of contract,

subcontract, purchase order, grant, or sub-grant.

       C.         A permanent injunction mandating that Defendants permanently rescind all

agency-wide directives implementing and effectuating Executive Order Nos. 14151, 14168, and

14173 against Plaintiffs that were issued prior to this injunction.

       D.         A permanent injunction mandating that Defendants unwind, rescind, strike, modify,

or otherwise rectify contracts, subcontracts, agreements, and/or any other such binding documents

entered into with Plaintiffs, in which terms, clauses, or provisions have been inserted pursuant to

or in furtherance of Executive Order Nos. 14151, 14168, and 14173.

       E.         A permanent injunction mandating that Defendants provide notice of this injunction

to all Plaintiffs and their subcontractors, vendors, and/or sub-grantees for whom such terms,

clauses, or provisions have already been imposed.



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       F.     An order awarding Plaintiffs’ cost of suit and reasonable attorneys’ fees and

expenses, pursuant to any applicable law; and

       G.     Such other relief as this Court deems equitable, just, and proper.


Dated: February 19, 2025                              Respectfully submitted,




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